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     Filing         Date     RFP #                          Document Requested                                                                    Search Terms
 Response to     3/11/2011     1     All documents requested by, or produced in response to, requests for No search terms needed.
BP's RFP to TO                       production and interrogatories served on Transocean Inc. by any
                                     other party in MDL No. 2197, including but not limited to Plaintiffs,
                                     Anadarko Petroleum Corporation, and MOEX Offshore 2007 LLC.

 Response to     3/11/2011     2     All documents relating to any inspections, audits, certificates, or      (“DWH” OR “Horizon”) w/10 (audit* OR inspect* OR survey* OR certificate* OR ISM)
BP's RFP to TO                       surveys of the Deepwater Horizon , including but not limited to
                                     documents relating to inspections, audits, certificates, or surveys by
                                     the Marshall Islands, American Bureau of Shipping, Det Norske
                                     Veritas, the United States Coast Guard, the Minerals Management
                                     Service (now known as the Bureau of Ocean Energy Management,
                                     Regulation and Enforcement), BP, Lloyd's Register EMEA, West
                                     Engineering Services, and ModuSpec USA, Inc.

 Response to     3/11/2011     3     All documents relating to Transocean's responses to the findings of      Same as RFP 2.
BP's RFP to TO                       any inspections, audits, certifications, or surveys of the Deepwater
                                     Horizon , including but not limited to Transocean's decisions whether
                                     to take any action in response to such findings; any repairs or
                                     maintenance undertaken in response to such findings; or
                                     Transocean's rejection of, objection to, or disagreement with such
                                     findings.
 Response to     3/11/2011     4     All documents relating to any maintenance, inspection, or testing of     No search terms needed.
BP's RFP to TO                       the Deepwater Horizon recommended by any person that
                                     Transocean did not implement.
 Response to     3/11/2011     5     All documents relating to any maintenance, including maintenance         cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
BP's RFP to TO                       policies, practices, procedures, standards, requirements, protocols,     (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.
                                     and/or planning, regarding the Deepwater Horizon's BOP and all of
                                     its components.                                                          (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                              preventor" or "blow out preventer" or bop).


 Response to     3/11/2011     6     All documents relating to any inspections, including inspection          Same as RFP 5.
BP's RFP to TO                       policies, practices, procedures, standards, requirements, protocols,
                                     and/or planning, regarding the Deepwater Horizon’s BOP and all of
                                     its components.
 Response to     3/11/2011     7     All documents relating to any testing, including testing policies,       Same as RFP 5.
BP's RFP to TO                       practices,procedures, standards, requirements, protocols, and/or
                                     planning, regarding the Deepwater Horizon’s BOP and all of its
                                     components.
 Response to     3/11/2011     8     All documents relating to whether the actual maintenance,                Same as RFP 5.
BP's RFP to TO                       inspection, and testing of the Deepwater Horizon’s BOP complied
                                     with Transocean’s policies, practices, procedures,standards,
                                     requirements, protocols, and/or planning regarding maintenance,
                                     inspection, and testing of BOPs.
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 Response to     3/11/2011    9   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies,practices, procedures, standards, requirements, protocols,    ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s emergency           shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                  disconnect system (“EDS”).                                             (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                         “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                         4/20/2010.

                                                                                                         (procedur* or protocol* or rule* or guidline* or polic*) and (test* w/20 ((emergency w/3
                                                                                                         disconnect) or eds)).

                                                                                                         (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                         preventor" or "blow out preventer" or bop)
 Response to     3/11/2011   10   All documents relating to any inspections, including inspection        Same as RFP 9.
BP's RFP to TO                    policies, practices,procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s EDS.

 Response to     3/11/2011   11   All documents relating to any testing, including testing policies,     Same as RFP 9.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s EDS.
 Response to     3/11/2011   12   All documents relating to whether the actual maintenance,              Same as RFP 9.
BP's RFP to TO                    inspection, and testing of the Deepwater Horizon’s EDS complied
                                  with Transocean’s policies, practices, procedures,standards,
                                  requirements, and/or protocols regarding maintenance, inspection,
                                  and testing of EDS’s.
 Response to     3/11/2011   13   All documents relating to any maintenance, including maintenance       (horizon or dwh) and ((design or instal* or operat* or mainten* or repair or utiliz* or “as
BP's RFP to TO                    policies,practices, procedures, standards, requirements, protocols,    built” or draw* or schema* or specific*) w/25 (msg or (mud w/3 gas w/3 separator))).
                                  and/or planning, regarding the Deepwater Horizon’s mud-gas
                                  separator (“MGS”).
 Response to     3/11/2011   14   All documents relating to any inspections, including inspection        Same as RFP 13.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s MGS.

 Response to     3/11/2011   15   All documents relating to any testing, including testing policies,     Same as RFP 13.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s MGS.
 Response to     3/11/2011   16   All documents relating to whether the actual maintenance,              Same as RFP 13.
BP's RFP to TO                    inspection, and testing of the Deepwater Horizon’s MGS complied
                                  with Transocean’s policies, practices, procedures,standards,
                                  requirements, and/or protocols regarding maintenance, inspection,
                                  and testing of MGS’s.
 Response to     3/11/2011   17   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s diverter system.    shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                       diverter AND polic* AND deepwater.
 Response to     3/11/2011   18   All documents relating to any inspections, including inspection      Same as RFP 17.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s diverter system.
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 Response to     3/11/2011   19   All documents relating to any testing, including testing policies,     Same as RFP 17.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s diverter system.

 Response to     3/11/2011   20   All documents relating to whether the actual maintenance,              Same as RFP 17.
BP's RFP to TO                    inspection, and testing of the Deepwater Horizon’s diverter system
                                  complied with Transocean’s policies, practices, procedures,
                                  standards, requirements, and/or protocols regarding maintenance,
                                  inspection, and testing of diverter systems.
 Response to     3/11/2011   21   All documents relating to any maintenance, including maintenance       (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,   “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                  and/or planning, regarding equipment on the Deepwater Horizon          4/20/2010.
                                  designed or intended to stop or control the flow of hydrocarbons.
                                                                                                         (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                         preventor" or "blow out preventer" or bop)
 Response to     3/11/2011   22   All documents relating to any inspections, including inspection        Same as RFP 21.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding equipment on the Deepwater Horizon
                                  designed or intended to stop or control the flow of hydrocarbons.

 Response to     3/11/2011   23   All documents relating to any testing, including testing policies,     Same as RFP 21.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding equipment on the Deepwater Horizon designed
                                  or intended to stop or control the flow of hydrocarbons.
 Response to     3/11/2011   24   All documents relating to whether the actual maintenance,              Same as RFP 21.
BP's RFP to TO                    inspection, and testing of equipment on the Deepwater Horizon
                                  designed or intended to stop or control the flow of hydrocarbons
                                  complied with Transocean’s policies, practices, procedures,
                                  standards,requirements, and/or protocols regarding maintenance,
                                  inspection, and testing of equipment on deepwater drilling rigs
                                  designed or intended to stop or control the flow of hydrocarbons.

 Response to     3/11/2011   25   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s alarm systems.      shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                         (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                         “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                         4/20/2010.
 Response to     3/11/2011   26   All documents relating to any inspections, including inspection        Same as RFP 25.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s alarm systems.

 Response to     3/11/2011   27   All documents relating to any testing, including testing policies,     Same as RFP 25.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s alarm systems.
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 Response to     3/11/2011    28   All documents relating to whether the actual maintenance,              Same as RFP 25.
BP's RFP to TO                     inspection, and testing of the Deepwater Horizon’s alarm systems
                                   complied with Transocean’s policies, practices, procedures,
                                   standards, requirements, and/or protocols regarding maintenance,
                                   inspection, and testing of alarm systems.
 Response to     3/11/2011    29   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   and/or planning, regarding the Deepwater Horizon’s emergency           shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                   shutdown system (“ESD”).
                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to     3/11/2011    30   All documents relating to any inspections, including inspection        Same as RFP 29.
BP's RFP to TO                     policies, practices, procedures, standards, requirements, protocols,
                                   and/or planning, regarding the Deepwater Horizon’s ESD.

 Response to     3/11/2011    31   All documents relating to any testing, including testing policies,     Same as RFP 29.
BP's RFP to TO                     practices, procedures, standards, requirements, protocols, and/or
                                   planning, regarding the Deepwater Horizon’s ESD.
 Response to     3/11/2011    32   All documents relating to whether the actual maintenance,              Same as RFP 29.
BP's RFP to TO                     inspection, and testingof the Deepwater Horizon’s ESD complied
                                   with Transocean’s policies, practices, procedures, standards,
                                   requirements, and/or protocols regarding maintenance, inspection,
                                   and testing of ESDs.
 Response to     3/11/2011    33   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   and/or planning, regarding the Deepwater Horizon’s rig savers.         shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to     3/11/2011    34   All documents relating to any inspections, including inspection        Same as RFP 33.
BP's RFP to TO                     policies, practices, procedures, standards, requirements, protocols,
                                   and/or planning, regarding the Deepwater Horizon’s rig savers.

 Response to     3/11/2011    35   All documents relating to any testing, including testing policies,     Same as RFP 33.
BP's RFP to TO                     practices, procedures, standards, requirements, protocols, and/or
                                   planning, regarding the Deepwater Horizon’s rig savers.
 Response to      3/11/2011   36   All documents relating to whether the actual maintenance,              Same as RFP 33.
BP's RFP to TO                     inspection, and testing of the Deepwater Horizon’s rig savers
                                   complied with Transocean’s policies, practices, procedures,
                                   standards, requirements, and/or protocols regarding maintenance,
                                   inspection, and testing of rig savers.
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 Response to     3/11/2011   37   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s overspeed           shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                  controls.
                                                                                                         (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                         “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                         4/20/2010.
 Response to     3/11/2011   38   All documents relating to any inspections, including inspection        Same as RFP 37.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s overspeed
                                  controls.
 Response to     3/11/2011   39   All documents relating to any testing, including testing policies,     Same as RFP 37.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s overspeed controls.

 Response to     3/11/2011   40   All documents relating to whether the actual maintenance,              Same as RFP 37.
BP's RFP to TO                    inspection, and testing of the Deepwater Horizon’s overspeed
                                  controls complied with Transocean’s policies, practices,procedures,
                                  standards, requirements, and/or protocols regarding maintenance,
                                  inspection, and testing of overspeed controls.

 Response to     3/11/2011   41   All documents relating to any maintenance, including maintenance       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding equipment on the Deepwater Horizon          shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                  designed or intended to keep the rig safe in the event hydrocarbons
                                  flow onto the rig.                                                     (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                         “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                         4/20/2010.

                                                                                                         (procedur* or protocol* or rule* or guidline* or polic*) and (test* w/20 ((emergency w/3
                                                                                                         disconnect) or eds)).

                                                                                                         (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                         preventor" or "blow out preventer" or bop)
 Response to     3/11/2011   42   All documents relating to any inspections, including inspection        Same as RFP 42.
BP's RFP to TO                    policies, practices,procedures, standards, requirements, protocols,
                                  and/or planning, regarding equipment on the Deepwater Horizon
                                  designed or intended to keep the rig safe in the event hydrocarbons
                                  flowonto the rig.
 Response to     3/11/2011   43   All documents relating to any testing, including testing policies,     Same as RFP 42.
BP's RFP to TO                    practices, procedures, standards, requirements, protocols, and/or
                                  planning, regarding equipment on the Deepwater Horizon designed
                                  or intended to keep the rig safe in the event hydrocarbons flow onto
                                  the rig.
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 Response to     3/11/2011   44   All documents relating to whether the actual maintenance,                  Same as RFP 42.
BP's RFP to TO                    inspection, and testing of equipment on the Deepwater Horizon
                                  designed or intended to keep the rig safe in the event hydrocarbons
                                  flow onto the rig complied with Transocean’s policies, practices,
                                  procedures, standards, requirements, and/or protocols regarding
                                  maintenance, inspection, and testing of equipment on deepwater
                                  drilling rigs designed or intended to keep the rig safe in the event
                                  hydrocarbons flow onto the rig.
 Response to     3/11/2011   45   All documents relating to any maintenance, including maintenance           ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,       ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s firefighting            shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                  equipment.
 Response to     3/11/2011   46   All documents relating to any inspections, including inspection            Same as RFP 45.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s firefighting
                                  equipment.
 Response to     3/11/2011   47   All documents relating to any testing, including testing policies,         Same as RFP 45.
BP's RFP to TO                    practices,procedures, standards, requirements, protocols, and/or
                                  planning, regarding the Deepwater Horizon’s firefighting equipment.

 Response to     3/11/2011   48   All documents relating to whether the actual maintenance,                  Same as RFP 45.
BP's RFP to TO                    inspection, and testing of the Deepwater Horizon’s firefighting
                                  equipment complied with Transocean’s policies, practices,
                                  procedures, standards, requirements, and/or protocols regarding
                                  maintenance, inspection, and testing of firefighting equipment.
 Response to     3/11/2011   49   All documents relating to any maintenance, including maintenance           Same as RFP 45.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s generators.

 Response to     3/11/2011   50   All documents relating to any inspections, including inspection            Same as RPF 45.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s generators.

 Response to     3/11/2011   51   All documents relating to whether the actual maintenance and               Same as RPF 45.
BP's RFP to TO                    inspection of the Deepwater Horizon’s generators complied with
                                  Transocean’s policies, practices, procedures, standards,
                                  requirements, and/or protocols regarding maintenance and
                                  inspection of generators.
 Response to     3/11/2011   52   All documents relating to any maintenance, including maintenance           ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,       ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                  and/or planning, regarding the Deepwater Horizon’s computer                shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                  system, controls, and displays for the driller’s and assistant
                                  driller’s control chairs.                                                  (dwh or horizon) and ((mainten* or repair or replac* or modific* or inspect) and (cyber
                                                                                                             w/5 chair*)) and date 1/1/2008 and 4/20/2010.
 Response to     3/11/2011   53   All documents relating to any inspections, including inspection            Same as RPF 52.
BP's RFP to TO                    policies, practices, procedures, standards, requirements, protocols,
                                  and/or planning, regarding the Deepwater Horizon’s computer
                                  system, controls, and displays for the driller’s and assistant driller’s
                                  control chairs.
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 Response to      3/11/2011   54   All documents relating to whether the actual maintenance and            Same as RPF 52.
BP's RFP to TO                     inspection of the Deepwater Horizon’s computer system, controls,
                                   and displays for the driller’s and assistant driller’s control chairs
                                   complied with Transocean’s policies, practices, procedures,
                                   standards, requirements, and/or protocols regarding maintenance
                                   and inspection of computer system, controls, and displays for the
                                   driller’s and assistant driller’s control chairs.
 Response to      3/11/2011   55   All documents relating to any maintenance, inspections, and/or          ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     testing of the Deepwater Horizon and its equipment that was             ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   outstanding or overdue on April 20, 2010.                               shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                           cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
                                                                                                           (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.

                                                                                                           ("DWH" OR "Horizon") AND ((malfunction* OR problem* OR (delay* w/3 repair*)) w/10
                                                                                                           (audit* OR inspect* OR survey*)) AND Between 01-Jan-2005 to April 20, 2010 AND
                                                                                                           (email OR Outlook Mail Message OR Outlook Message File).

 Response to     3/11/2011    56   All documents relating to Transocean’s policies, practices,             (procedur* or protocol* or require* or standard* or polic* or practice*) AND (DWH or
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for informing     Horizon) AND (mainten* or inspect* or modif* or test*) AND ((inform* or notif*) w/10
                                   or not informing BP regarding any maintenance, inspections, and/or      BP)
                                   testing of the Deepwater Horizon and its equipment.

 Response to     3/11/2011    57   All documents relating to Transocean’s policies, practices,             Same as RFP 56.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for informing
                                   or not informing BP of any outstanding or overdue maintenance,
                                   inspections, and/or testing of the Deepwater Horizon and its
                                   equipment.
 Response to     3/11/2011    58   All documents relating to the Deepwater Horizon’s systems for           ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     scheduling, conducting, and monitoring maintenance (including but       ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   not limited to Rig Management System II) generating duplicative         shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                   work orders, work orders meant for a different rig, work orders for
                                   maintenance that had already been performed, or work orders that        cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
                                   were otherwise erroneous or irrelevant.                                 (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.

                                                                                                           (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                           preventor" or "blow out preventer" or bop)

 Response to     3/11/2011    59   All documents relating to Transocean’s policies, practices,          (((condition* w/3 base*) w/5 maintenance) w/10 (train* OR procedure* OR guid* OR
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for conducting practice* OR polic*)) AND “transocean” AND Between 01-Jan-2005 to April 20, 2010
                                   “condition-based maintenance” on the Deepwater Horizon and its
                                   equipment, including the BOP.                                        (“DWH” OR “Horizon”) AND (“BOP” or “blowout preventer”) AND ((condition* w/3
                                                                                                        base*) w/5 maintenance) AND Between 01-Jan-2001 to present

 Response to     3/11/2011    60   All documents relating to Transocean’s policies, practices,            Same as RFP 59.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for conducting
                                   “condition-based maintenance” on its deepwater drilling rigs and their
                                   equipment, including their BOPs.
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 Response to     3/11/2011   61   All documents relating to Transocean’s use of “condition-based         Same as RFP 59.
BP's RFP to TO                    maintenance” instead of the American Petroleum Institute (“API”)
                                  standards, specifications, and/or recommended practices in
                                  maintaining, inspecting, and/or testing on its deepwater drilling rigs
                                  and their equipment, including their BOPs.
 Response to     3/11/2011   62   All documents relating to the costs associated with Transocean’s use Same as RFP 59.
BP's RFP to TO                    of “condition-based maintenance” on the Deepwater Horizon and
                                  Transocean’s other deepwater drilling rigs and their equipment
                                  including their BOPs, including but not limited to comparisons of the
                                  cost of using “condition-based maintenance” with the cost of
                                  alternative maintenance planning.
 Response to     3/11/2011   63   All documents relating to Transocean’s use of “condition-based         Same as RFP 59.
BP's RFP to TO                    maintenance” instead of requirements or standards set forth in
                                  federal laws or regulations in maintaining, inspecting, and/or testing
                                  on its deepwater drilling rigs and their equipment, including their
                                  BOPs.
 Response to     3/11/2011   64   All documents relating to Cameron International Corporation’s          (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                    recommended policies, practices, procedures, standards,                preventor" or "blow out preventer" or bop)
                                  requirements, and/or protocols for maintaining, inspecting, and
                                  testing the Deepwater Horizon’s BOP.
 Response to     3/11/2011   65   All documents related to whether the Deepwater Horizon, its crew,      ((horizon or dwh) and (ISM or "International Safety Management Code") w/20
BP's RFP to TO                    and equipment were in compliance with the International Safety         compliance)
                                  Management Code (“ISM”).
 Response to     3/11/2011   66   All documents related to whether the Deepwater Horizon, its crew,      ((horizon or dwh) and (SOLAS or "International Convention for the Safety of Life at
BP's RFP to TO                    and equipment were in compliance with the International Convention Sea") w/20 compliance)
                                  for the Safety of Life at Sea (“SOLAS”).
 Response to     3/11/2011   67   All documents related to whether the Deepwater Horizon, its crew,      No search terms needed.
BP's RFP to TO                    and equipment were in compliance with United States Coast Guard
                                  regulations.
 Response to     3/11/2011   68   All documents related to whether the Deepwater Horizon, its crew,      No search terms needed.
BP's RFP to TO                    and equipment were in compliance with regulations of the Minerals
                                  Management Service (“MMS”), now known as the Bureau of Ocean
                                  Energy Management, Regulation and Enforcement (“BOEMRE”).

 Response to     3/11/2011   69   All documents relating to schematics, diagrams, drawings, or          (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                    blueprints for the Deepwater Horizon’s BOP both as manufactured       preventor" or "blow out preventer" or bop)
                                  and as it existed at the time of the Incident.
 Response to     3/11/2011   70   All documents relating to any leaks from any part or component of     ("DWH" OR "Horizon") AND (pod* w/5 leak) AND Between 01-Feb-2010 to present
BP's RFP to TO                    the Deepwater Horizon’s BOP.
                                                                                                        (“DWH” OR “Horizon”) AND ((((“BOP” or “blowout preventer”) w/5 pod*) w/5 leak*) OR
                                                                                                        ((“BOP” or “blowout preventer”) w/5 batter*)) AND Between 01-Sep-2009 to 20-Apr-
                                                                                                        2010

 Response to     3/11/2011   71   All documents relating to Transocean’s policies, practices,           Same as RFP 70.
BP's RFP to TO                    procedures, standards, requirements, and/or protocols for
                                  addressing leaks from any part or component of a BOP.
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 Response to     3/11/2011   72   All documents relating to any modifications Transocean or any other ("DWH" OR "Horizon") AND (pod* w/5 ("retrievable" OR "non-retrievable" OR
BP's RFP to TO                    entity made to the Deepwater Horizon’s BOP.                         "nonretrievable" OR "retrieavable" OR "retrialable")) AND Between 01-Jan-2001 to
                                                                                                      present

                                                                                                        cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
                                                                                                        (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.

                                                                                                        (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                        preventor" or "blow out preventer" or bop)

 Response to     3/11/2011   73   All documents relating to Transocean’s policies, practices,          Same as RFP 72.
BP's RFP to TO                    procedures, standards, requirements, and/or protocols for making, or
                                  allowing a third party to make, modifications to a BOP.

 Response to     3/11/2011   74   All documents relating to Transocean’s replacement of any parts in    (“DWH” OR “Horizon”) AND (“BOP” or “blowout preventer”) AND ((condition* w/3
BP's RFP to TO                    the Deepwater Horizon’s BOP.                                          base*) w/5 maintenance) AND Between 01-Jan-2001 to present

                                                                                                        (((condition* w/3 base*) w/5 maintenance) w/10 (train* OR procedure* OR guid* OR
                                                                                                        practice* OR polic*)) AND “transocean” AND Between 01-Jan-2005 to April 20, 2010

                                                                                                        (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                        preventor" or "blow out preventer" or bop)

                                                                                                        cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
                                                                                                        (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.


 Response to     3/11/2011   75   All documents relating to Transocean’s policies, practices,           Same as RFP 74.
BP's RFP to TO                    procedures, standards, requirements, and/or protocols for replacing
                                  parts in a BOP.
 Response to     3/11/2011   76   All documents relating to American Petroleum Institute                (disassemb* W/5 (guid* OR recommend*)) W/25 ("BOP" or "blowout preventer") AND
BP's RFP to TO                    Recommended Practice 53 (“API RP 53”).                                Between 01-Jan-2001 to April 20, 2010

 Response to     3/11/2011   77   All documents relating to Transocean’s policies, practices,         Same as RFP 76.
BP's RFP to TO                    procedures, standards, requirements, and/or protocols for complying
                                  with API RP 53.
 Response to     3/11/2011   78   All documents relating to the subsea electronic modules or control  (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                    pods for the Deepwater Horizon’s BOP.                               preventor"      or      "blow        out       preventer"        or       bop)

 Response to     3/11/2011   79   All documents relating to how frequently Transocean re-charged or     (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                    replaced the batteries in the Deepwater Horizon’s BOP’s subsea        preventor"     or       "blow        out       preventer"        or       bop)
                                  electronic modules or control pods.
 Response to     3/11/2011   80   All documents relating to Transocean’s policies, practices,           (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                    procedures, standards, requirements, and/or protocols for re-         preventor"     or       "blow        out       preventer"        or       bop)
                                  charging or replacing the batteries in a BOP’s subsea electronic
                                  modules or control pods.
 Response to     3/11/2011   81   All documents relating to solenoid 103 of the Deepwater Horizon       (dwh or Horizon) and "solenoid 103"
BP's RFP to TO                    BOP’s yellow control pod.
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 Response to     3/11/2011    82   All documents relating to the effects of uncontrolled well flow on a     (blowout or "uncontrolled well flow") AND ((BOP or "blowout preventer" or "blowout
BP's RFP to TO                     BOP, including but not limited to documents relating to whether and      preventor") w/15 (damage* or effect* or affect*))
                                   how uncontrolled well flow can damage a BOP.
 Response to     3/11/2011    83   All documents relating to the Deepwater Horizon BOP’s automatic          (procedur* or protocol* or rule* or guideline* or polic*) and (("pressure test" or
BP's RFP to TO                     mode function or deadman function.                                       "function test") w/20 ((blowout or (blow w/2 out) w/3 preventor) or bop)).

                                                                                                            (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                            preventor" or "blow out preventer" or bop)
 Response to     3/11/2011    84   All documents relating to any testing, including testing policies,       (procedur* or protocol* or rule* or guideline* or polic*) and (("pressure test" or
BP's RFP to TO                     practices, procedures, standards, requirements, protocols, and/or        "function test") w/20 ((blowout or (blow w/2 out) w/3 preventor) or bop)).
                                   planning, regarding the Deepwater Horizon BOP’s automatic mode
                                   function or deadman function.                                            (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                            preventor" or "blow out preventer" or bop)
 Response to     3/11/2011    85   All documents relating to the alarms, including but not limited to the   ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     gas and general alarms, on the Deepwater Horizon.                        ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                                                                                            shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                            ((safe* or “best practices” or require* or training or instruct* or education or class* or
                                                                                                            seminar or manual or briefing or policy or procedure* or regulation* or guide* or
                                                                                                            practice* or safe* or risk or protocol*) w/50 (manual or rule or pamphlet or memo* or
                                                                                                            warning)) and (“alarm system” or “fire alarm” or “gas alarm” or “emergency alarm” or
                                                                                                            “EDS” or “ESD”) and (macondo or mc252 or "mc 252" or block252 or "block 252" or
                                                                                                            horizon or marianas or dwh) & da(after 12/31/2000).

                                                                                                            alarm* w/25 (inhibit* or bypass*) and (dwh or horizon) - Interrogatory search (dwh OR
                                                                                                            horizon) AND BOP AND ((batter* w/5 pod*) OR "condition-based" OR ("solenoid
                                                                                                            valve*" w/5 (repair* OR replac*)) OR ("re-certification" w/5 BOP) OR (recertification
                                                                                                            w/5 BOP)) - second interrogatory search - alarm* w/25 (inhibit* or bypass*) and (dwh
                                                                                                            or horizon)
 Response to     3/11/2011    86   All documents relating to Transocean inhibiting or operating in          Same as RFP 85.
BP's RFP to TO                     manual mode the alarm systems on the Deepwater Horizon.

 Response to     3/11/2011    87   All documents relating to Transocean’s policies, practices,              Same as RFP 85.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for inhibiting
                                   or operating in manual mode the alarm systems on its deepwater
                                   drilling rigs.
 Response to     3/11/2011    88   All documents relating to the training that each Deepwater Horizon       Same as RFP 85.
BP's RFP to TO                     crew member received on when and how to activate the Deepwater
                                   Horizon’s alarms, including its gas and general alarms.

 Response to     3/11/2011    89   All documents relating to Transocean’s policies, practices,        Same as RFP 85.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for when and
                                   how to activate the Deepwater Horizon’s alarms, including its gas
                                   and general alarms.
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 Response to     3/11/2011    90   All documents relating to the Deepwater Horizon’s overspeed               ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     controls.                                                                 ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                                                                                             shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                             (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                             “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                             4/20/2010.

 Response to     3/11/2011    91   All documents relating to any loss of power by the Deepwater              (horizon or dwh) and blackout and greater than or equal to Aug 1, 2008
BP's RFP to TO                     Horizon, including but not limited to the blackout that occurred on the
                                   Deepwater Horizon in August 2008.
 Response to     3/11/2011    92   All documents relating to the failure of the Deepwater Horizon’s          Same as RFP 91.
BP's RFP to TO                     overspeed controls for engine no. 3 causing a blackout on the
                                   Deepwater Horizon in August 2008.
 Response to     3/11/2011    93   All documents relating to any maintenance, repairs, replacement,          Same as RFP 91.
BP's RFP to TO                     inspection, and/or testing of the Deepwater Horizon’s overspeed
                                   controls as a result of the August 2008 blackout on the Deepwater
                                   Horizon
 Response to     3/11/2011    94   All documents relating to the Deepwater Horizon’s rig savers.             Same as RFP 33.
BP's RFP to TO

 Response to     3/11/2011    95   All documents relating to the Deepwater Horizon’s emergency               Same as RFP 29.
BP's RFP to TO                     shutdown system.

 Response to     3/11/2011    96   All documents relating to any of the Deepwater Horizon’s equipment (dwh or Horizon) AND equipment AND engine AND ((prevent w/ 5 "gas flow") or
BP's RFP to TO                     intended to prevent gas flow to the engine control room or shut down (detect* w/10 combustible))
                                   the rig’s engines if combustible gas is detected.

 Response to     3/11/2011    97   All documents relating to the Deepwater Horizon’s heating,                (horizon or dwh) w/25 (heat* or vent* or "air condition*")
BP's RFP to TO                     ventilation, and air conditioning system.

 Response to     3/11/2011    98   All documents relating to the Deepwater Horizon’s MGS.                    (horizon or dwh) and ((design or instal* or operat* or mainten* or repair or utiliz* or “as
BP's RFP to TO                                                                                               built” or draw* or schema* or specific*) w/25 (msg or (mud w/3 gas w/3 separator)))

                                                                                                              ((EDS OR "emergency disconnect") w/25 ("mud gas separator" or mgs OR diverter))
                                                                                                             and (affect* or effect* or hinder or prevent or interf*)

                                                                                                             ((amf or deadman) w/25 ("mud gas separator" or mgs OR diverter)) and (affect* or
                                                                                                             effect* or hinder or prevent or inter*)

                                                                                                             (("auto-shear" or autoshear) w/25 ("mud gas separator" or mgs OR diverter)) and
                                                                                                             (affect* or effect* or hinder or prevent or interf*)

                                                                                                             mud-gas separator and (gas w/5 (flow or control or kick or blowout or "blow out"))
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 Response to     3/11/2011    99   All documents relating to the Deepwater Horizon’s diverter system.     ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                                                                                            ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                                                                                          shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          ((EDS OR "emergency disconnect") w/25 ("mud gas separator" or mgs OR diverter))
                                                                                                          and (affect* or effect* or hinder or prevent or interf*)

                                                                                                          ((amf or deadman) w/25 ("mud gas separator" or mgs OR diverter)) and (affect* or
                                                                                                          effect* or hinder or prevent or inter*)

                                                                                                          (("auto-shear" or autoshear) w/25 ("mud gas separator" or mgs OR diverter)) and
                                                                                                          (affect* or effect* or hinder or prevent or interf*)

                                                                                                            diverter AND polic* AND deepwater
 Response to     3/11/2011   100   Documents sufficient to show all types of data shown on the              [Asking for types of data seen from the drillers chair which are not likely to be in a
BP's RFP to TO                     Deepwater Horizon’s computer system, controls, and displays for the document. A reasonable search cannot be constructed to establish these types of
                                   driller’s and assistant driller’s control chairs.                        data].
 Response to     3/11/2011   101   All documents relating to the Deepwater Horizon’s computer system, Same as RFP 100.
BP's RFP to TO                     controls, and displays for the driller’s and assistant driller’s control
                                   chairs failing to show data, showing data on a delayed basis, or
                                   showing erroneous data.
 Response to     3/11/2011   102   All documents relating to all prior activations of the Deepwater         (DWH OR Horizon) AND ((EDS or "emergency disconnect") w/10 (activat* or decide*
BP's RFP to TO                     Horizon’s EDS.                                                           or decision))

 Response to     3/11/2011   103   All documents relating to Transocean’s policies, practices,            (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding        preventor" or "blow out preventer" or bop)
                                   when a drilling rig’s EDS should be activated.
                                                                                                          ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
                                                                                                          ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                                                                                          shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to     3/11/2011   104   All documents relating to when the Deepwater Horizon’s EDS was         Same as RFP 102.
BP's RFP to TO                     activated or attempted to be activated on April 20, 2010, including
                                   but not limited to when orders were given to activate or not activate
                                   the Deepwater Horizon’s EDS.
 Response to     3/11/2011   105   All documents relating to the training that each crew member          (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's RFP to TO                     received on when and how to activate the Deepwater Horizon’s EDS. preventor" or "blow out preventer" or bop)

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.

                                                                                                          ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
                                                                                                          ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                                                                                          shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
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 Response to     3/11/2011   106   All documents relating to the MC252 well control incident on April 20, “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's RFP to TO                     2010.                                                                  problem or disaster). Limit date.

 Response to     3/11/2011   107   All documents relating to the data from the Hitec sensors and Sperry- (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's RFP to TO                     Sun sensors collected on the Deepwater Horizon on April 20, 2010. (mud w/3 log*) w/5 (data or reading* or measure*) and date between 3/1/2010 and
                                                                                                         4/21/2010.

                                                                                                           (flow w/3 meter) and (horizon or dwh or macondo or mc252 or “mc 252” or block252
                                                                                                           or “block 252”) and date between 4/15/2010 and 4/21/2010.
 Response to     3/11/2011   108   All documents relating to the Deepwater Horizon crew’s monitoring       No search terms needed.
BP's RFP to TO                     for kicks on April 20, 2010.

 Response to     3/11/2011   109   All documents related to the training the Deepwater Horizon crew        (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
BP's RFP to TO                     received regarding monitoring for kicks.                                “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                           4/20/2010.

                                                                                                         (“well control handbook” or “HQS-OPS-HB-01”) and kick.
 Response to     3/11/2011   110   All documents relating to Transocean’s policies, practices,           Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   monitoring for kicks during drilling or temporary abandonment
                                   procedures.
 Response to     3/11/2011   111   All documents relating to Transocean’s policies, practices,           Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   what data should be monitored to determine whether a kick is
                                   occurring, and what changes in that data indicate that a kick is
                                   occurring.
 Response to     3/11/2011   112   All documents relating to Transocean’s policies, practices,           Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding the
                                   use of drill pipe pressure data and changes in such data to determine
                                   whether a kick is occurring.
 Response to     3/11/2011   113   All documents relating to Transocean’s policies, practices,           Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding the
                                   use of flow-out and flow-in data and changes in such data to
                                   determine whether a kick is occurring.
 Response to     3/11/2011   114   All documents relating to Transocean’s policies, practices,           Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for
                                   determining whether a kick is occurring.
 Response to     3/11/2011   115   All documents related to the training the Deepwater Horizon crew      Same as RFP 109.
BP's RFP to TO                     received to determine when a kick is occurring.

 Response to     3/11/2011   116   All documents relating to the actions the Transocean crew took in       “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's RFP to TO                     response to the MC252 well control incident on April 20, 2010.          problem or disaster).

 Response to     3/11/2011   117   All documents relating to Transocean’s policies, practices,         Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding how
                                   the crew of a deepwater drilling rig should respond to a kick.
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 Response to     3/11/2011   118   All documents relating to Transocean’s policies, practices,         Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding how
                                   the crew of a deepwater drilling rig should respond to a blowout.

 Response to     3/11/2011   119   All documents relating to Transocean’s policies, practices,         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding how ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   the crew of a deepwater drilling rig should respond when gas enters shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                   into the riser of a deepwater drilling rig.
 Response to     3/11/2011   120   All documents relating to the use of the Deepwater Horizon’s MGS    Same as RFP 98.
BP's RFP to TO                     on April 20, 2010.

 Response to     3/11/2011   121   All documents relating to Transocean’s policies, practices,            mud-gas separator and (gas w/5 (flow or control or kick or blowout or "blow out"))
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   when and how the crew of a deepwater drilling rig should use the
                                   MGS in response to a well control incident.
 Response to     3/11/2011   122   All documents relating to the use of the diverter system’s overboard   No search terms needed.
BP's RFP to TO                     lines on April 20, 2010.

 Response to     3/11/2011   123   All documents relating to Transocean’s policies, practices,            Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   when and how the crew of a deepwater drilling rig should use the
                                   diverter system’s overboard lines in response to a well control
                                   incident.
 Response to     3/11/2011   124   All documents relating to Transocean’s policies, practices,            Same as RFP 109.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   when the crew of a deepwater drilling rig should use the diverter
                                   system’s overboard lines instead of the MGS, or vice versa, in
                                   response to a well control incident.
 Response to     3/11/2011   125   All documents relating to the use of the BOP on April 20, 2010.        No search terms needed.
BP's RFP to TO

 Response to     3/11/2011   126   All documents relating to Transocean’s policies, practices,          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding how “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                   the crew of a deepwater drilling rig should use the BOP in response 4/20/2010.
                                   to a well control incident.
 Response to     3/11/2011   127   All documents relating to Transocean’s policies, practices,          Same as RFP 126.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   when the crew of a deepwater drilling rig should use the BOP’s blind
                                   shear rams in response to a well control incident.
 Response to     3/11/2011   128   All documents related to the training the Deepwater Horizon crew     Same as RFP 109.
BP's RFP to TO                     received in responding to kicks.

 Response to     3/11/2011   129   All documents related to the training the Deepwater Horizon crew       Same as RFP 109.
BP's RFP to TO                     received in responding to blowouts.

 Response to     3/11/2011   130   All documents related to the training the Deepwater Horizon crew       Same as RFP 109.
BP's RFP to TO                     received in responding to gas in the riser.
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 Response to     3/11/2011   131   All documents related to the training the Deepwater Horizon crew        Same as RFP 109.
BP's RFP to TO                     received inwhether to use the MGS or diverter system’s overboard
                                   lines in response to a blowout.
 Response to     3/11/2011   132   All documents related to the training the Deepwater Horizon crew        Same as RFP 109.
BP's RFP to TO                     received in using the BOP to control a kick.

 Response to     3/11/2011   133   All documents related to the training the Deepwater Horizon crew        Same as RFP 109.
BP's RFP to TO                     received in using the BOP to control a blowout.

 Response to     3/11/2011   134   All documents relating to the March 8, 2010 kick experienced when       ((Macondo OR MC252 OR "MC 252" OR block252 OR "Block 252") and (kick or
BP's RFP to TO                     the Deepwater Horizon was drilling the MC252 well.                      "march 8" or "march 8th"))' SCOPE 'F01128_Castor_Review' AND [FTI] Family Dates
                                                                                                           UTC - GREATER OR EQUAL '8-MAR-2010'

                                                                                                           ("well control event" OR WCE OR (uncontrol* w/3 flow) OR blowout OR "blow out")
                                                                                                           AND (dwh OR horizon OR macondo OR mc252) AND Between 01-Jan-2010 to 21-Apr-
                                                                                                           2010.

                                                                                                           (macondo or mc252 or “mc 252”) AND ("well control" OR WCE OR kick) AND
                                                                                                           Between 08-Mar-2010 and 21-Apr-2010
 Response to     3/11/2011   135   All documents relating to the most likely causes of a blowout,          No search terms needed.
BP's RFP to TO                     including whether a blowout is more likely to arise from human error
                                   or equipment failure rather than reservoir conditions.
 Response to     3/11/2011   136   All documents relating to the displacement of drilling fluid from the   (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's RFP to TO                     MC252 well with seawater on April 20, 2010.                             Mud w/50 ((sea w/2 water) or seawater) and pressure and date between 4/15/2010
                                                                                                           and 4/21/2010.
 Response to     3/11/2011   137   All documents relating to Transocean’s policies, practices,             No search terms needed.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   displacing drilling fluid with seawater as part of a temporary
                                   abandonment process for an exploratory deepwater well.
 Response to     3/11/2011   138   All documents relating to the spacer used for displacing the drilling   spacer AND ("form-a-set" OR "form-a-squeeze")
BP's RFP to TO                     fluids from the MC252 well on April 20, 2010.
                                                                                                           "spacer" w/10 (("pill" or “squeeze”) w/5 ("lost circulation" OR "loss circulation" OR "lost
                                                                                                           control" OR "loss control" OR “LCM”)) AND Between 01-Jan-2005 to April 20, 2010.

 Response to     3/11/2011   139   All documents relating to Transocean’s policies, practices,             No search terms needed.
BP's RFP to TO                     procedures, standards, requirements, and/or protocols regarding
                                   spacer used for displacing drilling fluids as part of a temporary
                                   abandonment process for an exploratory deepwater well.
 Response to     3/11/2011   140   All documents relating to negative pressure tests of the MC252 well     No search terms needed.
BP's RFP to TO                     on April 20, 2010.

 Response to     3/11/2011   141   All documents relating to the training each crew member on the       (“negative pressure test” OR (temporar* w/2 abandon*) OR (conver* w/3 “float”)) w/10
BP's RFP to TO                     Deepwater Horizon, including but not limited to each Offshore        (train* OR procedure* OR guid* OR practice* OR polic*) AND Between 01-Jan-2005
                                   Installation Manager (“OIM”), driller and toolpusher, received       to April 21, 2010
                                   regarding performing and interpreting negative pressure tests.
 Response to     3/11/2011   142   All documents relating to Transocean’s policies, practices,          Same as RFP 141
BP's RFP to TO                     procedures, standards, requirements, and/or protocols for performing
                                   and interpreting negative pressure tests on the Deepwater Horizon
                                   and other rigs.
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 Response to     3/11/2011   143   All documents relating to bladder effects or annular compression        No search terms needed.
BP's RFP to TO                     when performing or interpreting negative pressure tests.

 Response to     3/11/2011   144   All documents relating to any statements made by any member of          “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's RFP to TO                     the Deepwater Horizon crew that one or both of the negative             problem or disaster).
                                   pressure tests conducted on April 20, 2010 regarding the MC252 well
                                   were successful.
 Response to     3/11/2011   145   All documents relating to any statements made by Jason Anderson Same as RFP 144.
BP's RFP to TO                     regarding the negative pressure tests conducted on April 20, 2010
                                   regarding the MC252 well.
 Response to     3/11/2011   146   All documents relating to any statements made by Dewey Revette          Same as RFP 144.
BP's RFP to TO                     regarding the negative pressure tests conducted on April 20, 2010
                                   regarding the MC252 well.
 Response to     3/11/2011   147   All documents relating to the monitoring or measuring the flow-in and “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's RFP to TO                     flow-out of drilling fluids on the Deepwater Horizon on April 20, 2010. problem or disaster). Limit date.

Response to BP   3/11/2011   148   All documents relating to drilling fluids being transferred to any other well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           vessel or being discharged overboard from the Deepwater Horizon          or disaster)
                                   on April 20, 2010.
Response to BP   3/11/2011   149   All documents relating to Transocean’s policies, practices,              No search terms needed.
     RFP                           procedures, standards, requirements, and/or protocols for
                                   monitoring, measuring, transferring, or discharging drilling fluids
                                   during temporary abandonment procedures.
Response to BP   3/11/2011   150   All documents relating to the Deepwater Horizon’s engines and            ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
     RFP                           generators, including but not limited to the operation of those engines ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
                                   and generators on April 20, 2010.                                        shutdown) or esd))
Response to BP   3/11/2011   151   All documents relating to orders or commands given by the OIM and Same as RFP 148.
     RFP                           Captain or Master relating to the Incident.
Response to BP   3/11/2011   152   All documents relating to the sinking of the Deepwater Horizon,          Same as RFP 148.
     RFP                           including but not limited to any documents relating to any
                                   investigation of why the Deepwater Horizon sank and all
                                   communications to Transocean’s insurers regarding the sinking of
                                   the Deepwater Horizon.
Response to BP   3/11/2011   153   All documents relating to efforts to fight the fires on board the        Same as RFP 148.
     RFP                           Deepwater Horizon on and after April 20, 2010, including but not
                                   limited to firefighting efforts both before and after the evacuation of
                                   the Deepwater Horizon.
Response to BP   3/11/2011   154   All documents relating to the training the Deepwater Horizon’s crew Same as RFP 148.
     RFP                           received in fighting fires on the Deepwater Horizon
Response to BP   3/11/2011   155   All documents relating to the Transocean Command Center initially No search terms needed.
     RFP                           set up in response to the Deepwater Horizon Incident, including but
                                   not limited to documents relating tocommunications between the
                                   Transocean Command Center and the United States Coast Guard,
                                   the BP Command Center, or any other third party.

Response to BP   3/11/2011   156   All documents relating to efforts by any person or entity to activate   well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           the BOP after the Deepwater Horizon Incident.                           or disaster)
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Response to BP   3/11/2011   157   All documents relating to the flow rate of oil or other hydrocarbons       (("barrels per day" or "bbls per day") and (MC252 or Macondo or Horizon or DWH))
     RFP                           from the MC252 Well after the Deepwater Horizon Incident.                  and greater or equal to April 20, 2010

Response to BP   3/11/2011   158   All documents relating to efforts to contain or clean up the Oil Spill     (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
     RFP                                                                                                      "top kill") and well control event and (blow-out or leak* or injur* or damage* or
                                                                                                              accident* or problem or disaster)
Response to BP   3/11/2011   159   All documents consisting of or relating to the personnel files of all      No search terms needed.
     RFP                           crew members of the Deepwater Horizon, including but not limited to
                                   all performance evaluations of the crew members.
Response to BP   3/11/2011   160   All documents consisting of or relating to the personnel files of all on- No search terms needed.
     RFP                           shore personnel who supervised or were responsible for the
                                   Deepwater Horizon, including but not limited to all performance
                                   evaluations
Response to BP   3/11/2011   161   All documents relating to changes in the number of the crew on            No search terms needed.
     RFP                           board the Deepwater Horizon.




Response to BP   3/11/2011   162   All documents relating to the duties, responsibilities, and authority of   No search terms needed.
     RFP                           the Captain or Master on Transocen drilling rigs.
Response to BP   3/11/2011   163   All documents relating to the duties, responsibilities, and authority of   No search terms needed.
     RFP                           the Captain or Master on Transocean drilling rigs.
Response to BP   3/11/2011   164   All documents relating to the designation of the person-in-charge on       No search terms needed.
     RFP                           Transocean drilling rigs.
Response to BP   3/11/2011   165   All documents relating to the circumstances under which the person-        No search terms needed.
     RFP                           in-charge on a Transocean drilling rig may change.
Response to BP   3/11/2011   166   All documents relating to who the person-in-charge on a Transocean         No search terms needed.
     RFP                           drilling rig is during an emergency.
Response to BP   3/11/2011   167   All documents relating to the training received by Captain Curt            No search terms needed.
     RFP                           Kuchta and OIM Jimmy Harrell, including but not limited to training
                                   relating to addressing emergencies
Response to BP   3/11/2011   168   All documents relating to Transocean’s policies and procedures for         No search terms needed.
     RFP                           training OIMs and Captains or Masters, including but not limited to
                                   training relating to addressing emergencies
Response to BP   3/11/2011   169   All documents relating to training for the OIM, toolpushers, drillers,     (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
     RFP                           and other members of the Deepwater Horizon crew in preventing,             pressure test or ((NPT or PPT) w/3 test)) and (dwh or horizon); (well control
                                   detecting, and addressing well control events.                             handbook or HQS-OPS-HB-01) and kick
Response to BP   3/11/2011   170   All documents relating to the work-related licenses held by the            No search terms needed.
     RFP                           Deepwater crew, including but not limited to the licenses of the rig's
                                   captains.
Response to BP   3/11/2011   171   All documents relating to any interviews of or statements made by          well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           any person on the Deepwater Horizon or Damon B. Bankston on                or disaster)
                                   April 20, 2010.
Response to BP   3/11/2011   172   All documents relating to any interviews of or statements made by          well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           any personwho was interviewed, questioned, or contacted as part of         or disaster)
                                   any Transocean investigation regarding the Deepwater Horizon
                                   Incident or the Oil Spill.
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Response to BP   3/11/2011   173   All documents relating to any investigation being conducted by             No search terms needed.
     RFP                           Transocean regarding the Deepwater Horizon Incident or the Oil
                                   Spill, including but not limited to drafts of reports relating to any such
                                   investigation and all documents investigators reviewed or relied on in
                                   the course of such investigation.
Response to BP   3/11/2011   174   All documents relating to any reason why the Deepwater Horizon             Same as RFP 148.
     RFP                           crew did not recognize the April 20, 2010 well control event earlier.

Response to BP   3/11/2011   175   All documents relating to any reason why the Deepwater Horizon        Same as RFP 148.
     RFP                           crew did not take well control measures earlier in response to the
                                   April 20, 2010 well control event.
Response to BP   3/11/2011   176   All documents relating to any reason why the Deepwater Horizon        Same as RFP 148.
     RFP                           crew did not use the BOP’s blind shear ram in response to the April
                                   20, 2010 well control event.
Response to BP   3/11/2011   177   All documents relating to any reason why the Deepwater Horizon        Same as RFP 148.
     RFP                           crew used the MGS rather than the diverter system’s overboard lines
                                   in response to the April 20, 2010 well control event.
Response to BP   3/11/2011   178   All documents relating to any reason why the Deepwater Horizon        Same as RFP 148.
     RFP                           crew did not activate the EDS earlier in response to the April 20,
                                   2010 well control event.
Response to BP   3/11/2011   179   All documents relating to the failure of the BOP to shut in the MC252 well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           Well in response to the April 20, 2010 well control event.            or disaster)
Response to BP   3/11/2011   180   All documents relating to the failure of the BOP’s deadman or         well control event and (blow-out or leak* or injur* or damage* or accident* or problem
     RFP                           automatic mode function to shut in the MC252 Well in response to      or disaster)
                                   the April 20, 2010 well control event
Response to BP   3/11/2011   181   All documents relating to the ESD not preventing the ignition of gas Same as RFP 148.
     RFP                           on the Deepwater Horizon on April 20, 2010.

Response to BP   3/11/2011   182   All documents relating to the rig savers not preventing the ignition of   Same as RFP 148.
     RFP                           gas on the Deepwater Horizon on April 20, 2010.

Response to BP   3/11/2011   183   All documents relating to the overspeed controls not preventing the       Same as RFP 148.
     RFP                           ignition of gas on the Deepwater Horizon on April 20, 2010.
Response to BP   3/11/2011   184   All documents relating to all well control events that occurred when      Same as RFP 148.
     RFP                           the Deepwater Horizon was drilling or latched up to a well.

Response to BP   3/11/2011   185   All documents relating to all well control events that occurred during    Same as RFP 148.
     RFP                           the drilling of the MC252 Well.
Response to BP   3/11/2011   186   All documents relating to any events or accidents on the Deepwater        No search terms needed.
     RFP                           Horizon that damaged the rig itself or injured any person, including
                                   but not limited to any internal assessment of such events or
                                   accidents.
Response to BP   3/11/2011   187   All documents relating to any events or accidents on the Deepwater        No search terms needed.
     RFP                           Horizon that posed a risk to the rig itself or to the safety of any
                                   person, including but not limited to any internal assessment of such
                                   events or accidents.
Response to BP   3/11/2011   188   All documents relating to any government citations, warnings,             No search terms needed.
     RFP                           penalties, notices of noncompliance, or similar documents relating to
                                   the Deepwater Horizon.
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Response to BP    3/11/2011   189   All documents relating to the U.S. Minerals Management Service,     No search terms needed.
     RFP                            Bureau of Ocean Energy Management, Regulation and Enforcement,
                                    or Coast Guard’s investigations of events on the Deepwater Horizon.

Response to BP    3/11/2011   190   All documents relating to the safety performance on the Deepwater No search terms needed.
     RFP                            Horizon, including but not limited to documents relating to the
                                    Deepwater Horizon’s total recordable incident rate (“TRIR”), total
                                    potential severity rate (“TPSR”), and high-potential dropped objects
                                    measure (“HPDO”).
Response to BP    3/11/2011   191   All documents relating to any blowouts or any well control events        Same as RFP 148.
     RFP                            where hydrocarbons from a well reached the riser on or after January
                                    1, 2000, that have occurred when any Transocean drilling rig was
                                    drilling or latched up to a well.
Response to BP    3/11/2011   192   All documents relating to the well control event that occurred on        “Sedco 711” w/10 (explosion OR blowout OR “well control” OR “WCE”) AND Between
     RFP                            December 23, 2009, when Transocean’s Sedco 711 rig was drilling a 23-Dec-2009 to 20-Apr-2010
                                    well in the North Sea, including but not limited to any internal reports
                                    regarding that event.
 Response to      4/29/2011    1    All documents relating to the Deepwater Horizon created on or since (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     January 31, 2010.
      TO                                                                                                     “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                             problem or disaster).
 Response to      4/29/2011    2    All organization charts relating to the Deepwater Horizon, including     No Search Terms Needed.
BP's 2nd RFP to                     but not limited to charts showing the organization of the personnel on
      TO                            the Deepwater Horizon and charts showing the organization of on-
                                    shore personnel who, directly or indirectly, supervise or are
                                    responsible for the Deepwater Horizon.
 Response to      4/29/2011    3    All documents relating to the MC252 Well, including but not limited to "MC 252" or MC252 or Macondo
BP's 2nd RFP to                     all descriptions of the Well and all documents relating to
      TO                            Transocean’s activities in drilling the MC252 Well.
 Response to      4/29/2011    4    All documents relating to the Deepwater Horizon Incident, including “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     but not limited to any descriptions of the Incident and any analyses     problem or disaster).
      TO                            and any analyses, evaluations, or investigations of what caused the
                                    Incident.
 Response to      4/29/2011    5    All documents relating to rig schematics, diagrams, drawings, or         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     blueprints for the Deepwater Horizon both as manufactured and as it ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                            existed at the time of the Incident, including but not limited to all    shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                    documents describing or setting forth the layout of the Deepwater
                                    Horizon and all photographs or other images of the Deepwater             “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                    Horizon.                                                                 problem or disaster).
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 Response to      4/29/2011    6    All documents relating to the Deepwater Horizon’s drilling of the        (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     MC252 Well, including but not limited to all data, daily reports, and    252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                            other documents generated during the course of drilling the MC252        (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                    Well, as well as all documents sent to or received from BP’s other       “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                    contractors such as Halliburton Energy Services, Inc. and M-I LLC        or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                    concerning drilling of the MC252 Well.                                   management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                             Simrad) & da(after 9/30/2009).

                                                                                                             (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                             ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
                                                                                                             w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                             pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                             (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                             4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                             252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
 Response to      4/29/2011    7    All documents relating to the Hi-Tec data system on the Deepwater        (DWH or Horizon) w/50 (Hi-tec or Hitec or "Hi Tec")
BP's 2nd RFP to                     Horizon, including but not limited to manuals, policies, procedures or
      TO                            guidance documents concerning the design, operation, and
                                    maintenance of the Hi-Tec data system, as well as documents
                                    concerning the layout of the system and the location of the Hi-Tec
                                    sensors on the Deepwater Horizon.
 Response to      4/29/2011    8    All documents relating to any data from the Hi-Tec, Sperry Sun, or       (DWH or Horizon) and (Hi-tec or Hitec or "Hi Tec") and greater than or equal to
BP's 2nd RFP to                     other data system or sensor that was available to the driller,           10/26/2009
      TO                            assistant driller or other person on the Transocean Marianas on
                                    October 26 and October 27, 2009, or the Deepwater Horizon on             (Marianas or MAR) and (Hi-tec or Hitec or "Hi Tec")
                                    October 22, 2009, February 12, 2010, and March 8, 2010.
 Response to      4/29/2011    9    All documents relating to any communication or transfer of data          (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     between the Deepwater Horizon and any shore-based personnel or
      TO                            data system on April 18-20, 2010.
 Response to      4/29/2011    10   All documents relating to any telephone calls made to or from the        (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     Deepwater Horizon on April 18-20, 2010, including but not limited to
      TO                            telephone lines and satellite phones.                                    “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                             problem or disaster).
 Response to      4/29/2011    11   All documents relating to any safety stand-down, safety                  (review OR analys*) w/15 ("safety management" OR "safety culture" OR "safety
BP's 2nd RFP to                     conversation, or evaluation of safety performance concerning the         climate" OR ((employee or personnel) w/2 (qualifi* OR train*)))and (date greater than
      TO                            Deepwater Horizon.                                                       or equal to 1/1/2009)
 Response to      4/29/2011    12   All documents or other materials relating to any safety training         No Search Terms Needed.
BP's 2nd RFP to                     program or presentation, including but not limited to Safety
      TO                            Conversation presentations, and the materials listed on BP-HZN-
                                    2179MDL00343632 including Safety Leadership Training (SLT)
                                    modules, the leadership video presentation by Steve Newman, the
                                    compliance video presentation by Rob Saltiel, the accountability
                                    presentation by Arnaud Bobillier, the “We are better than this”
                                    presentation by Larry McMahan, and the Reel Talk example video.
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 Response to      4/29/2011    13   All documents relating to any meetings between Transocean and BP (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     concerning the MC252 Well or Deepwater Horizon from January 1 to 252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                            April 20, 2010.                                                   (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                                                                                      “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                      or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                      management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                      Simrad) & da(after 9/30/2009).
 Response to      4/29/2011    14   All documents relating to the attendees at all meetings between   Same as BP 2nd RFP 13.
BP's 2nd RFP to                     Transocean and BP concerning the MC252 Well or Deepwater
      TO                            Horizon from January 1 to April 20, 2010.
 Response to      4/29/2011    15   All documents relating to the temporary abandonment of the MC252 (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     Well, including all documents sent to or received from BP’s other ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                            contractors such as Halliburton Energy Services, Inc. and M-I LLC w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                    concerning temporary abandonment of the MC252 Well.               pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                      (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                      4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                      252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010 ;
                                                                                                      (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                      (fifteen or 15) and 4/18/2010

                                                                                                          temporary abandonment AND deepwater AND ("gulf of Mexico"OR GOM)

                                                                                                          (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.

                                                                                                          (“well plan” or “application for permit to drill” or APD or “application for revised well” or
                                                                                                          “application to bypass” or “initial exploration plan”) and (macondo or mc252 or “mc
                                                                                                          252” or block252 or “block 252”) and date greater than 12/31/2008.
 Response to      4/29/2011    16   All documents relating to the licensing or certification of the       No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon, including but not limited to documents submitted
      TO                            to the Marshall Islands and Panama to obtain licenses.

 Response to      4/29/2011    17   All documents relating to the American Bureau of Shipping’s           No Search Terms Needed.
BP's 2nd RFP to                     classification and inspections of the Deepwater Horizon.
      TO
 Response to      4/29/2011    18   All documents from January 1, 2009, to April 20, 2010 relating to  ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     safety and/or emergency drills conducted on the Deepwater Horizon. ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                               shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
 Response to      4/29/2011    19   All documents relating to the Deepwater Horizon’s emergency           (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
BP's 2nd RFP to                     preparedness, planning, and implementation, including emergency       “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
      TO                            preparedness in the event of a blowout preventer failure.             4/20/2010.

 Response to      4/29/2011    20   All documents relating to the September 19, 2008 e-mail sent by  "watertight integrity and compliance"
BP's 2nd RFP to                     John B. MacDonald with the subject “Watertight Integrity and
      TO                            Compliance” (TRN-HCEC-00076254-55), including but not limited to
                                    any documents responding to that e-mail and the notes of any
                                    conversations between Mr. MacDonald and any Captains or Marine
                                    Supervisors relating to the e- mail.
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 Response to      4/29/2011    21   All documents relating to dilution of crews or turnover among crews      No Search Terms Needed.
BP's 2nd RFP to                     on all Transocean drilling rigs, including but not limited to the
      TO                            Deepwater Horizon.
 Response to      4/29/2011    22   All documents that Transocean has sent to or received from any           “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     person or entity relating to the Deepwater Horizon Incident or the Oil   problem or disaster).
      TO                            Spill, including but not limited to all documents that Transocean has
                                    sent to or received from any government agency, BP’s other               (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                    contractors such as Halliburton Energy Services, Inc. and M-I LLC,       "top kill")
                                    or Cameron International Corporation relating to the Incident or Oil
                                    Spill.
 Response to      4/29/2011    23   All documents relating to any flooding on the Deepwater Horizon,         (horizon or dwh) and blackout and greater than or equal to Aug 1, 2008 [Same as
BP's 2nd RFP to                     including but not limited to the flooding event that occurred on the     Response to BP's 1st RFP 91]
      TO                            Deepwater Horizon in 2008.
 Response to      4/29/2011    24   All documents relating to the Deepwater Horizon’s watertight             (DWH or Horizon) w/50 ("watertight integrity" or watertight)
BP's 2nd RFP to                     integrity.
      TO
 Response to      4/29/2011    25   All documents relating to work performed by SMIT Salvage Americas (DWH or Horizon) and (SMIT or "SMIT Salvage") and greater than or equal to April
BP's 2nd RFP to                     Inc. relating to the Deepwater Horizon.                           20, 2010
      TO
 Response to      4/29/2011    26   All communications between SMIT Salvage Americas Inc. and                Same as BP 2nd RFP 25.
BP's 2nd RFP to                     Transocean relating to the Deepwater Horizon.
      TO
 Response to      4/29/2011    27   All recordings—whether written, audio, or video—comprising,              “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     transcribing, or reflecting interviews of, or statements given by,       problem or disaster).
      TO                            persons with knowledge of the Deepwater Horizon Incident and Oil
                                    Spill, and all documents relating to such recordings.
 Response to      4/29/2011    28   All documents identifying all persons who conducted or participated      Same as BP 2nd RFP 27.
BP's 2nd RFP to                     in all interviews concerning the Deepwater Horizon Incident and Oil
      TO                            Spill, or who took and/or obtained statements concerning the
                                    Deepwater Horizon Incident and Oil Spill.
 Response to      4/29/2011    29   All documents created at any time relating to communications or          No Search Terms Needed.
BP's 2nd RFP to                     discussions, evaluations, or analyses of a so-called “bladder effect”
      TO                            or “annular compression,” including but not limited to all documents
                                    in which either one of those terms appears.
 Response to      4/29/2011    30   All documents relating to communications provided to or received         “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     from any insurer, including the insurers for Transocean, relating to     problem or disaster).
      TO                            the Deepwater Horizon Incident and Oil Spill.
 Response to      4/29/2011    31   All documents or communications relating to any claim made to any        Same as BP 2nd RFP 30.
BP's 2nd RFP to                     insurance carrier relating to the Deepwater Horizon Incident and Oil
      TO                            Spill.
 Response to      4/29/2011    32   All documents relating to the Deepwater Horizon Incident or Oil Spill    No Search Terms Needed.
BP's 2nd RFP to                     provided to or received from any potential purchaser of Transocean
      TO                            stock or properties.
 Response to      4/29/2011    33   All documents relating to any calculation, discussion, evaluation, or    No Search Terms Needed.
BP's 2nd RFP to                     analysis of potential exposure or reserve of Transocean arising from
      TO                            or relating to the Deepwater Horizon Incident and Oil Spill, including
                                    those which may have been shared or forwarded to any investor,
                                    external auditor, or board-of-directors member.
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 Response to      4/29/2011    34   All documents relating to any press release, congressional               “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     testimony, or other statements by Transocean or its employees            problem or disaster).
      TO                            relating to the Deepwater Horizon Incident, including but not limited
                                    to all drafts of such documents.
 Response to      4/29/2011    35   All documents relating to BP’s “Deepwater Horizon: Accident              “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Investigation Report” dated September 8, 2010, including but not         problem or disaster).
      TO                            limited to all discussions, evaluations, analyses, or criticisms of that
                                    report.
 Response to      4/29/2011    36   All documents relating to the “Macondo: The Gulf Oil Disaster –          “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Chief Counsel’s Report” from the National Commission on the BP           problem or disaster).
      TO                            Deepwater Horizon Oil Spill and Offshore Drilling released on
                                    February 17, 2011, including but not limited to all discussions,
                                    evaluations, analyses, or criticisms of that report.
 Response to      4/29/2011    37   All documents relating to the report regarding the “Deep Water: The “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Gulf Oil Disaster and the Future of Offshore Drilling” report from the problem or disaster).
      TO                            National Commission on the BP Deepwater Horizon Oil Spill and
                                    Offshore Drilling released on January 11, 2011, including but not
                                    limited to all discussions, evaluations, analyses, or criticisms of that
                                    report.
 Response to      4/29/2011    38   All documents relating to the United States Coast Guard’s “Report of “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Investigation into the Circumstances Surrounding the Explosion, Fire, problem or disaster).
      TO                            Sinking, and Loss of Eleven Crew Members Aboard the MOBILE
                                    OFFSHORE DRILLING UNIT DEEPWATER HORIZON” released on
                                    April 22, 2011, and any subsequent versions of this report, including
                                    but not limited to all discussions, evaluations, analyses, or criticisms
                                    of that report.
 Response to      4/29/2011    39   All documents relating to any communications between Transocean (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     and any government entity (or any person working on that                 252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                            government entity’s behalf), including but not limited to the National (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                    Commission on the BP Deepwater Horizon Oil Spill and Offshore            “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                    Drilling; United States Coast Guard; the Bureau of Ocean Energy          or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                    Management, Regulation and Enforcement; any member of the                management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                    legislature of the United States, any State, or any foreign nation; or   Simrad) & da(after 9/30/2009).
                                    the Executive Office of the President of the United States.
                                                                                                             “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                             problem or disaster).
 Response to      4/29/2011    40   All documents relating to the Deepwater Horizon’s blowout preventer cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
BP's 2nd RFP to                     stack (“BOP”).                                                           (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.
      TO
                                                                                                            (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
                                                                                                            preventor" or "blow out preventer" or bop)

 Response to      4/29/2011    41   All documents relating to the Deepwater Horizon’s emergency             ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     shutdown system (“ESD”).                                                ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                    shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                            (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                            “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                            4/20/2010.
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 Response to      4/29/2011    42   All documents relating to Transocean’s policies, practices,           Same as BP 2nd RFP 41.
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning for
      TO                            training drilling crews on when to use the ESD.
 Response to      4/29/2011    43   All documents relating to the Deepwater Horizon’s emergency           ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     disconnect system (“EDS”).                                            ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guidline* or polic*) and (test* w/20 ((emergency w/3
                                                                                                          disconnect) or eds)).
 Response to      4/29/2011    44   All documents relating to the Deepwater Horizon’s mud-gas             (horizon or dwh) and ((design or instal* or operat* or mainten* or repair or utiliz* or “as
BP's 2nd RFP to                     separator.                                                            built” or draw* or schema* or specific*) w/25 (msg or (mud w/3 gas w/3 separator)))
      TO
                                                                                                           ((EDS OR "emergency disconnect") w/25 ("mud gas separator" or mgs OR diverter))
                                                                                                          and (affect* or effect* or hinder or prevent or interf*)

                                                                                                          ((amf or deadman) w/25 ("mud gas separator" or mgs OR diverter)) and (affect* or
                                                                                                          effect* or hinder or prevent or inter*)

                                                                                                          (("auto-shear" or autoshear) w/25 ("mud gas separator" or mgs OR diverter)) and
                                                                                                          (affect* or effect* or hinder or prevent or interf*)

                                                                                                          mud-gas separator and (gas w/5 (flow or control or kick or blowout or "blow out"))

 Response to      4/29/2011    45   All documents relating to the Deepwater Horizon’s emergency           Same as BP 2nd RFP 43.
BP's 2nd RFP to                     disconnect system.
      TO
 Response to      4/29/2011    46   All documents relating to the Deepwater Horizon’s diverter system.    ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                                                                                           ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          ((EDS OR "emergency disconnect") w/25 ("mud gas separator" or mgs OR diverter))
                                                                                                          and (affect* or effect* or hinder or prevent or interf*)

                                                                                                          ((amf or deadman) w/25 ("mud gas separator" or mgs OR diverter)) and (affect* or
                                                                                                          effect* or hinder or prevent or inter*)

                                                                                                          (("auto-shear" or autoshear) w/25 ("mud gas separator" or mgs OR diverter)) and
                                                                                                          (affect* or effect* or hinder or prevent or interf*)

                                                                                                          diverter AND polic* AND deepwater
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 Response to      4/29/2011    47   All documents relating to the Deepwater Horizon’s alarm systems.      ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                                                                                           ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to      4/29/2011    48   All documents relating to the Deepwater Horizon’s rig savers.         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                                                                                           ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to      4/29/2011    49   All documents relating to the Deepwater Horizon’s overspeed           ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     controls.                                                             ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.

                                                                                                          (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
                                                                                                          “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
                                                                                                          4/20/2010.
 Response to      4/29/2011    50   All documents relating to the Deepwater Horizon’s firefighting        ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     equipment.                                                            ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
 Response to      4/29/2011    51   All documents relating to the Deepwater Horizon’s generators.         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                                                                                           ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                  shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
 Response to      4/29/2011    52   All documents relating to whether the electrical equipment on the     ((DWH or Horizon) and ignit* and hydrocarbons)
BP's 2nd RFP to                     Deepwater Horizon on April 20, 2010, could serve as a source to
      TO                            ignite hydrocarbons.
 Response to      4/29/2011    53   All documents relating to Transocean’s policies, practices,           Same as BP 2nd RFP 52.
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning for
      TO                            preventing electrical equipment on a drilling rig from igniting
                                    hydrocarbons.
 Response to      4/29/2011    54   All documents relating to whether the electrical equipment on board ((horizon or dwh) and (ISM or "International Safety Management Code") w/20
BP's 2nd RFP to                     the Deepwater Horizon complied with the International Safety          compliance) [same as Response to BP's 1st RFP 65]
      TO                            Management Code (“ISM”) on April 20, 2010.
 Response to      4/29/2011    55   All documents relating to Transocean’s policies, practices,           Same as BP 2nd RFP 54.
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning for
      TO                            complying with the ISM.
 Response to      4/29/2011    56   All documents relating to Transocean’s policies, practices,           ((horizon or dwh) and (SOLAS or "International Convention for the Safety of Life at
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning for Sea") w/20 compliance) [same as Response to BP's 1st RFP 66]
      TO                            complying with the International Convention for the Safety of Life at
                                    Sea (“SOLAS”).
 Response to      4/29/2011    57   All documents relating to any instances of Transocean not complying Same as BP 2nd RFP 54.
BP's 2nd RFP to                     with the ISM.
      TO
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 Response to      4/29/2011    58   All documents relating to any instances of Transocean not complying Same as BP 2nd RFP 56.
BP's 2nd RFP to                     with SOLAS.
      TO
 Response to      4/29/2011    59   All communications from any person alleging that Transocean was     Same as BP 2nd RFP 54.
BP's 2nd RFP to                     not in compliance with the ISM, and all related documents including
      TO                            any response by Transocean.
 Response to      4/29/2011    60   All communications from any person alleging that Transocean was     Same as BP 2nd RFP 56.
BP's 2nd RFP to                     not in compliance with the SOLAS, and all related documents
      TO                            including any response by Transocean.
 Response to      4/29/2011    61   All documents relating to any competence assurance program for the ((DWH or Horizon) and "competence assurance")
BP's 2nd RFP to                     Deepwater Horizon.
      TO
 Response to      4/29/2011    62   All documents relating to Transocean’s policies, practices,          Same as BP 2nd RFP 61.
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning
      TO                            concerning competence assurance programs for Transocean’s
                                    drilling rigs.
 Response to      4/29/2011    63   All documents relating to personnel changes among the Transocean No Search Terms Needed.
BP's 2nd RFP to                     crew on the Deepwater Horizon from January 1, 2008 to April 20,
      TO                            2010.
 Response to      4/29/2011    64   All documents relating to the Fall 2009 hitch schedule change        "hitch schedule change" or "hitch pattern" or "21-day-on-the-rig" or "21 day rotation" or
BP's 2nd RFP to                     resulting in a 21- day-on-the-rig/21-day-off-the-rig hitch pattern,  "21/21 rotation"
      TO                            including but not limited to any internal or external communications
                                    concerning the decision, any studies, surveys or examinations
                                    concerning the change that were conducted before or after the
                                    change took effect, any analyses of the impact on costs or cost
                                    savings related to the change, and any documents relating to the
                                    implementation of the change.
 Response to      4/29/2011    65   All documents created since January 1, 2000, relating to the         No Search Terms Needed.
BP's 2nd RFP to                     Transocean Manuals (including all editions of the manuals from
      TO                            January 1, 2000, to present).
 Response to      4/29/2011    66   Controlled versions, as defined by Transocean, of each of the        Same as BP 2nd RFP 65.
BP's 2nd RFP to                     Transocean Manuals as such Transocean Manuals were in effect on
      TO                            April 20, 2010.
 Response to      4/29/2011    67   All documents created since January 1, 2000, relating to any         (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
BP's 2nd RFP to                     changes in the Deepwater Horizon Emergency Response Manual           “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
      TO                            and Transocean Well Control Handbook.                                4/20/2010.
 Response to      4/29/2011    68   All documents relating to the “Macondo As I see it” document         "macondo as I see it"
BP's 2nd RFP to                     (Document Control Number TRN-MDL-00688525-42), including but
      TO                            not limited to all drafts of the document and all communications
                                    relating to the document.
 Response to      4/29/2011    69   All documents relating to Transocean HSE Alert 114 (Document         "HSE Alert 114"
BP's 2nd RFP to                     Control Number TRN-MDL-00370034-35), including but not limited to
      TO                            all drafts of the document, all communications relating to the
                                    document, and all documents relating to the corrective actions taken
                                    in response or pursuant to Transocean HSE Alert 114.

 Response to      4/29/2011    70   All documents relating to any well control events in the Gulf of       “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Mexico since January 1, 2005 that have occurred when or while any      problem or disaster).
      TO                            Transocean drilling rig was drilling or latched up to a well.
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 Response to      4/29/2011    71   All documents relating to any government citations, warnings,         “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     penalties, notices of noncompliance, or similar documents relating to problem or disaster).
      TO                            any well control event that occurred when any Transocean drilling rig
                                    was drilling or latched up to a well any in the Gulf of Mexico.

 Response to      4/29/2011    72   All documents relating to any government citations, warnings,          No Search Terms Needed.
BP's 2nd RFP to                     penalties, notices of noncompliance, or similar documents relating to
      TO                            the BOP of any Transocean drilling rig operating in the Gulf of
                                    Mexico.
 Response to      4/29/2011    73   All documents relating to all Operational Events Reports for the       ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     Deepwater Horizon, as described in the Transocean Field Operations ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                            Handbook, Manual No. HQS-OPS- HB-05, including but not limited         shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                    to: (i) Equipment Failures reports; (ii) Major Equipment Failures
                                    reports; (iii) Procedural Error or Failures reports; (iv) Other Events
                                    Transocean reports; (v) Hole Problems reports; (vi) Other Events
                                    Customer reports; and (vii) Well Control Event reports.

 Response to      4/29/2011    74   All documents relating to the following reports or notifications for the ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     Deepwater Horizon, as described in the Transocean Field Operations ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                            Handbook, Manual No. HQS-OPS- HB-05: (i) emergency response shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                    reports; (ii) HSE incident reports; and (iii) operational abnormality
                                    reports.
 Response to      4/29/2011    75   All documents relating to Operation Event Reports - Format for Well “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     Control Event, including but not limited to those in the format of       problem or disaster).
      TO                            Deposition Exhibit 1479, concerning the Deepwater Horizon.

 Response to      4/29/2011    76   All documents relating to all Requests for Exemption, including but      (DWH or Horizon) and ("request for exemption" or "requests for exemption")
BP's 2nd RFP to                     not limited to those in the format of the document with control
      TO                            number TRN-MDL-00606601, concerning the Deepwater Horizon.

 Response to      4/29/2011    77   All documents relating to all Requests for Engineering Assistance,       (DWH or Horizon) and ("request for engineering assistance" or "requests for
BP's 2nd RFP to                     including but not limited to those in the format of Deposition Exhibit   engineering assistance")
      TO                            1476, concerning the Deepwater Horizon.
 Response to      4/29/2011    78   All documents relating to Task Risk Assessment Worksheet,                No Search Terms Needed.
BP's 2nd RFP to                     including but not limited to those in the format of the document with
      TO                            control number TRN-MDL-00606602, for the Deepwater Horizon.

 Response to      4/29/2011    79   All documents relating to any communications with any regulatory       “Sedco 711” w/10 (explosion OR blowout OR “well control” OR “WCE”) AND Between
BP's 2nd RFP to                     authorities (including but not limited to those from the United        23-Dec-2009 to 20-Apr-2010
      TO                            Kingdom) regarding the well control event that occurred on
                                    December 23, 2009, when Transocean’s Sedco 711 rig was drilling a
                                    well in the North Sea (the “Sedco 711 Incident”).
 Response to      4/29/2011    80   All documents relating to any changes in Transocean’s policies,        Same as BP 2nd RFP 79.
BP's 2nd RFP to                     practices, procedures, standards, requirements, protocols, and/or
      TO                            planning, and all documents relating to any alerts or lessons learned,
                                    as a result of the Sedco 711 Incident.
 Response to      4/29/2011    81   All documents relating to as-built drawings of the Deepwater Horizon. No Search Terms Needed.
BP's 2nd RFP to
      TO
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 Response to      4/29/2011    82   All documents relating to general arrangement drawings of the               Same as BP 2nd RFP 81.
BP's 2nd RFP to                     Deepwater Horizon.
      TO
 Response to      4/29/2011    83   All documents relating to the trim and stability booklet for the            ((Horizon or DWH) and "trim and stability")
BP's 2nd RFP to                     Deepwater Horizon.
      TO
 Response to      4/29/2011    84   All documents relating to simultaneous operations while doing         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     dynamic positioning of vessel or “SIMOPS” on the Deepwater            ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                            Horizon.                                                              shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
 Response to      4/29/2011    85   All documents relating to hydrostatic data for the Deepwater Horizon. ((Horizon or DWH) w/50 hydrostatic)
BP's 2nd RFP to
      TO
 Response to      4/29/2011    86   All documents relating to deadweight surveys for the Deepwater              (Horizon or DWH) and (deadweight w/1 survey*)
BP's 2nd RFP to                     Horizon.
      TO
 Response to      4/29/2011    87   All video or audio recordings of the Deepwater Horizon, any                 No Search Terms Needed. [A reasonable search cannot be constructed to establish
BP's 2nd RFP to                     components of the Deepwater Horizon, or any person on-board the             these types of data].
      TO                            Deepwater Horizon from April 20 through sinking of April 22.
 Response to      4/29/2011    88   All documents relating to the Rig Management System (“RMS”)                 No Search Terms Needed.
BP's 2nd RFP to                     Manual for the Deepwater Horizon.
      TO
 Response to      4/29/2011    89   All documents relating to safety meeting minutes for the Deepwater          No Search Terms Needed.
BP's 2nd RFP to                     Horizon from March 1, 2010, through April 20, 2010.
      TO
 Response to      4/29/2011    90   All documents relating to training matrices or modules for Deepwater No Search Terms Needed.
BP's 2nd RFP to                     Horizon maintenance personnel.
      TO
 Response to      4/29/2011    91   All documents relating to the Deepwater Horizon’s certificate of            No Search Terms Needed.
BP's 2nd RFP to                     classification, certificate of machinery, safety equipment certificate,
      TO                            sanitation certificate, MSDS certificate, cargo ship safety
                                    construction certificate, international oil pollution certificate,
                                    International Air Pollution Prevention (“IAPP”) record of construction
                                    and equipment, ships station license, international sewage pollution
                                    certificate, international anti-fouling system certificate, international
                                    tonnage certificate, record of radio equipment, and list of nautical
                                    publications carried on board.

 Response to      4/29/2011    92   All documents from January 1 to April 20, 2010, relating to the             (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     Deepwater Horizon deck log book.
      TO
 Response to      4/29/2011    93   All documents from January 1 to April 20, 2010, relating to the TRIM (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     sheet indicating consumable weights for the Deepwater Horizon.
      TO
 Response to      4/29/2011    94   All documents from January 1 to April 20, 2010, relating to stability       (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     calculations for the Deepwater Horizon.
      TO
 Response to      4/29/2011    95   All documents from January 1 to April 20, 2010, relating to the     (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     identification of materials and equipment loaded onto the Deepwater
      TO                            Horizon’s deck and their respective positions.
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 Response to      4/29/2011    96   All documents relating to ballast and pipeline drawings for the         ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     Deepwater Horizon.                                                      ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                    shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
 Response to      4/29/2011    97   All documents relating to drawings for the Deepwater Horizon’s          Same as BP 2nd RFP 96.
BP's 2nd RFP to                     ballast tank, fuel tanks, drill water tanks, and fresh water tanks.
      TO
 Response to      4/29/2011    98   All documents relating to the weight of the Deepwater Horizon’s         ((Horizon or DWH or RBS-8D or RBS 8D) and derrick w/5 weight)
BP's 2nd RFP to                     derrick.
      TO
 Response to      4/29/2011    99   All documents from January 1, 2009, through April 20, 2010 relating     No Search Terms Needed.
BP's 2nd RFP to                     to the training matrices for the Deepwater Horizon’s crews.
      TO
 Response to      4/29/2011   100   All documents relating to the official log book provided to the         No Search Terms Needed.
BP's 2nd RFP to                     Republic of the Marshall Islands at the end of 2009.
      TO
 Response to      4/29/2011   101   All documents from January 1, 2010 through April 20, 2010 relating      (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     to the proposed list of dry dock repairs for the Deepwater Horizon.
      TO
 Response to      4/29/2011   102   All documents relating to the weight of the Deepwater Horizon’s         (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
BP's 2nd RFP to                     BOP.                                                                    preventor" or "blow out preventer" or bop)
      TO
 Response to      4/29/2011   103   All documents relating to arrangement drawings of the Deepwater         No Search Terms Needed.
BP's 2nd RFP to                     Horizon’s mud tank.
      TO
 Response to      4/29/2011   104   All documents relating to the capacity of the Deepwater Horizon’s       No Search Terms Needed.
BP's 2nd RFP to                     mud tank.
      TO
 Response to      4/29/2011   105   All documents relating to the capacity, capabilities and/or description ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     of the degasser unit.                                                   ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                                                                                                    shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
 Response to      4/29/2011   106   All documents relating to the general arrangement of the engine         No Search Terms Needed.
BP's 2nd RFP to                     room and mud pump room.
      TO
 Response to      4/29/2011   107   All documents relating to the Deepwater Horizon’s fire safety plan.     No Search Terms Needed.
BP's 2nd RFP to
      TO
 Response to      4/29/2011   108   All documents provided to the Republic of Marshall Islands Maritime     No Search Terms Needed.
BP's 2nd RFP to                     Administrator in response to its letter of August 26, 2010 (Document
      TO                            Control Number TRN- MDL-00635387) regarding possible non-
                                    compliance with coastal State regulation for Blowout Preventers’
                                    inspection and certification.
 Response to      4/29/2011   109   All documents relating to certifications of on-job-training (“OJT”)     No Search Terms Needed.
BP's 2nd RFP to                     Training Modules completed by the drilling crew aboard the
      TO                            Deepwater Horizon on April 20, 2010.
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 Response to      4/29/2011   110   All documents relating to all services performed by Halliburton           (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     Energy Services Inc. (“Halliburton”) and Sperry Drilling Services         252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                            relating to the MC252 Well, including but not limited to cementing        (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                    and mud logging services.                                                 “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                              or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                              management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                              Simrad) & da(after 9/30/2009).
 Response to      4/29/2011   111   All documents relating to the storage of cement on the Deepwater          (Horizon or DWH) and (cement w/5 (storage or tank)) and greater than or equal to
BP's 2nd RFP to                     Horizon, including but not limited to all records of location, storage    September 1, 2009
      TO                            conditions, tank conditions, previous contents of tank, cleaning the
                                    tank, and any additions to the storage tank after drilling a well in
                                    Mississippi Canyon, Block 727.
 Response to      4/29/2011   112   All documents relating to the storage of cementing materials on the       Same as BP 2nd RFP 111.
BP's 2nd RFP to                     Deepwater Horizon, including but not limited to all records of location
      TO                            and storage conditions.
 Response to      4/29/2011   113   All documents relating to the cementing unit on the Deepwater             ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
BP's 2nd RFP to                     Horizon on April 19-20, 2010, including but not limited to schematics,    ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
      TO                            diagrams, plumbing and drawings of the cementing unit, the nitrogen       shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                    unit and the foam manifold.
 Response to      4/29/2011   114   All real-time data collected during the cementing job performed on        (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     the MC252 Well on April 19-20, 2010.
      TO
 Response to      4/29/2011   115   All documents relating to the cementing of the MC252 Well, including (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     any documents relating to the process of cementing the MC252 Well 252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                            and the components of the cement slurry.                             (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                                                                                         “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                         or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                         management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                         Simrad) & da(after 9/30/2009).

                                                                                                              (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.

                                                                                                              “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                              problem or disaster).
 Response to      4/29/2011   116   All documents relating to the number of centralizers used for the         (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     MC252 Well.                                                               252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                                                                                                      (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                                                                                              “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                              or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                              management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                              Simrad) & da(after 9/30/2009).

                                                                                                              “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                              problem or disaster).
 Response to      4/29/2011   117   All documents relating to the OptiCem™ model used by Halliburton,         (Macondo or MC252 or MC 252) and OptiCem
BP's 2nd RFP to                     including but not limited to any documents regarding the use and
      TO                            output of the OptiCem™ model relating to the MC252 Well.
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 Response to      4/29/2011   118   All documents relating to running a cement bond/evaluation log on     (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     the MC252 Well.                                                       ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                  w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                          pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                          (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                          4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                          252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                          (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                          (fifteen or 15) and 4/18/2010

                                                                                                       (research or investig* or (decision w/4 tree) or oberv* or test* or analys* ) and
                                                                                                       (((cement w/3 log) or cbl) and (horizon or dwh or macondo or mc252 or “mc 252” or
                                                                                                       block252 or “block 252”)) and betweem 4/15/2010 and 4/21/2010.
 Response to      4/29/2011   119   All documents relating to when a cement bond/evaluation log should Same as BP 2nd RFP 118
BP's 2nd RFP to                     be run on a well.
      TO
 Response to      4/29/2011   120   Documents sufficient to show the number and percentage of wells       No Search Terms Needed.
BP's 2nd RFP to                     and/or sections of wells that Transocean has drilled in the Gulf of
      TO                            Mexico since January 1, 2005, where a cement bond/evaluation log
                                    was run on a well and/or a section of the well.

 Response to      4/29/2011   121   All documents relating to the cement used for the MC252 Well.         Same as BP 2nd RFP 115.
BP's 2nd RFP to
      TO
 Response to      4/29/2011   122   All documents relating to any changes to any Transocean Manual          Same as BP 2nd RFP 65.
BP's 2nd RFP to                     after April 20, 2010, including but not limited to documents
      TO                            discussing the reasons for any such changes.
 Response to      4/29/2011   123   All documents relating to any suggested, proposed, or implemented Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s maintenance policies,
      TO                            practices, procedures, standards, requirements, protocols, and/or
                                    planning for drilling rigs, including all equipment, appurtenances, and
                                    safety devices on such rigs.

 Response to      4/29/2011   124   All documents relating to any suggested, proposed, or implemented Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s inspection policies,
      TO                            practices, procedures, standards, requirements, protocols, and/or
                                    planning for drilling rigs, including all equipment, appurtenances, and
                                    safety devices on such rigs.

 Response to      4/29/2011   125   All documents relating to any suggested, proposed, or implemented     Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s safety policies,
      TO                            practices, procedures, standards, requirements, protocols, and/or
                                    planning for drilling rigs.
 Response to      4/29/2011   126   All documents relating to any suggested, proposed, or implemented     Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s Safety Management
      TO                            System.
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 Response to      4/29/2011   127   All documents relating to any suggested, proposed, or implemented Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s maintenance and
      TO                            inspection policies, practices, procedures, standards, requirements,
                                    protocols, and/or planning for BOPs and/or any component of BOPs.

 Response to      4/29/2011   128   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s well control policies,
      TO                            practices, procedures, standards, requirements, protocols, and/or
                                    planning.
 Response to      4/29/2011   129   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning for
                                    monitoring wells, including monitoring wells for kicks and other well
                                    control events.
 Response to      4/29/2011   130   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning for
                                    training individuals regarding well control.

 Response to      4/29/2011   131   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning for
                                    training individuals to monitor wells, including monitoring wells for
                                    kicks and other well control events.

 Response to      4/29/2011   132   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning for
                                    activating the EDS or ESD.
 Response to      4/29/2011   133   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning
                                    regarding alarms on drilling rigs.
 Response to      4/29/2011   134   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in Transocean’s policies, practices,
      TO                            procedures, standards, requirements, protocols, and/or planning for
                                    fighting fires on drilling rigs.
 Response to      4/29/2011   135   All documents relating to any suggested, proposed, or implemented       Same as BP 2nd RFP 65.
BP's 2nd RFP to                     changes after April 20, 2010, in the responsibilities, duties, and
      TO                            powers of the Offshore Installation Manager (“OIM”) and Captain or
                                    Master on Transocean’s drilling rigs.
 Response to      4/29/2011   136   Documents sufficient to show all of the directors of the Transocean     No Search Terms Needed.
BP's 2nd RFP to                     Parent Companies and Transocean Deepwater Horizon Companies
      TO                            as well as the period during which each director held that position.

 Response to      4/29/2011   137   Documents sufficient to show all of the officers of the Transocean      No Search Terms Needed.
BP's 2nd RFP to                     Parent Companies and Transocean Deepwater Horizon Companies
      TO                            as well as the period during which each officer held that position.
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 Response to      4/29/2011   138   All documents regarding loans to any of the Transocean Deepwater No Search Terms Needed
BP's 2nd RFP to                     Horizon Companies made by any of the Transocean entities, or any
      TO                            loans by any of the Transocean Deepwater Horizon Companies to
                                    another Transocean entity.
 Response to      4/29/2011   139   All documents regarding distributions and dividends made by the     No Search Terms Needed.
BP's 2nd RFP to                     Transocean Deepwater Horizon Companies to any other Transocean
      TO                            entity.
 Response to      4/29/2011   140   Documents sufficient to show the registered and principal places of No Search Terms Needed
BP's 2nd RFP to                     business, and every other business address used or published, for
      TO                            each of the Transocean Parent Companies
                                    and Transocean Deepwater Horizon Companies, as well as the
                                    period during which each address was used.
 Response to      4/29/2011   141   All documents evidencing the corporate history, by-laws, and        No Search Terms Needed
BP's 2nd RFP to                     ownership of the Transocean Parent Companies and Transocean
      TO                            Deepwater Horizon Companies, including but not limited to
                                    certificates of incorporation and corporate filings made with
                                    secretaries of state or other governmental agencies.
 Response to      4/29/2011   142   The corporate minutes, minutes of the meetings of the boards of     No Search Terms Needed
BP's 2nd RFP to                     directors, and records of any decisions made by the boards of
      TO                            directors for each of the Transocean Deepwater Horizon Companies.

 Response to      4/29/2011   143   All documents relating to any agreements or contracts between any No Search Terms Needed.
BP's 2nd RFP to                     of the Transocean Deepwater Horizon Companies and any other
      TO                            Transocean entity.
 Response to      4/29/2011   144   All documents relating to any services any of the Transocean          No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon Companies had provided to or received from any
      TO                            other Transocean entity.
 Response to      4/29/2011   145   All documents relating to any assets any of the Transocean            No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon Companies transferred to or received from any
      TO                            other Transocean entity.
 Response to      4/29/2011   146   All documents describing the capital contributions, funding, or other No Search Terms Needed.
BP's 2nd RFP to                     financial assistance each of the Transocean Deepwater Horizon
      TO                            Companies has received from any other Transocean entity.

 Response to      4/29/2011   147   Documents sufficient to show the funding or revenues each of the     No Search Terms Needed.
BP's 2nd RFP to                     Transocean Deepwater Horizon Companies has received from any
      TO                            entity or person other than a Transocean entity.
 Response to      4/29/2011   148   Documents sufficient to show which Transocean entity has paid the    No Search Terms Needed.
BP's 2nd RFP to                     wages, salaries, benefits, and other employee costs for the
      TO                            employees of each of the Transocean Deepwater Horizon
                                    Companies.
 Response to      4/29/2011   149   All documents concerning any policies, practices, procedures,        No Search Terms Needed.
BP's 2nd RFP to                     standards, requirements, protocols, and/or planning promulgated by
      TO                            any of the Transocean Parent Companies that apply, or have
                                    applied, to any of the Transocean Deepwater Horizon Companies.

 Response to      4/29/2011   150   All documents concerning any decisions or actions made by any of     No Search Terms Needed.
BP's 2nd RFP to                     the Transocean Parent Companies on behalf of the Transocean
      TO                            Deepwater Horizon Companies.
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 Response to      4/29/2011   151   Documents sufficient to show the value of each of the Transocean             No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon Companies as of April 20, 2010 and presently.
      TO
 Response to      4/29/2011   152   All documents concerning the capital of each of the Transocean               No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon Companies as of April 20, 2010 and presently.
      TO
 Response to      4/29/2011   153   All documents relating to any of the Transocean Deepwater Horizon            No Search Terms Needed.
BP's 2nd RFP to                     Companies having submitted its decisions for review or approval by
      TO                            one or more of the Transocean Parent Companies or any other
                                    Transocean entity.
 Response to      4/29/2011   154   For each of the Transocean Deepwater Horizon Companies,                      No Search Terms Needed.
BP's 2nd RFP to                     documents sufficient to show the persons who or entities that have
      TO                            controlled or have access to the bank accounts for each Company.

 Response to      4/29/2011   155   Documents sufficient to show the assets, including cash, accounts     No Search Terms Needed.
BP's 2nd RFP to                     receivable, physical equipment, and all other assets, of each of the
      TO                            Transocean Deepwater Horizon Companies at the end of each year
                                    from 2005 to 2010.
 Response to      4/29/2011   156   Documents sufficient to show each vessel and rig owned, leased or No Search Terms Needed.
BP's 2nd RFP to                     operated by each of the Transocean Deepwater Horizon Companies
      TO                            at the end of each year from 2005 to 2010.
 Response to      4/29/2011   157   All documents relating to any Transocean entity having guaranteed, No Search Terms Needed.
BP's 2nd RFP to                     or otherwise provided security or support for, the loans or other
      TO                            financial commitments of any of the Transocean Deepwater Horizon
                                    Companies.
 Response to      4/29/2011   158   All documents concerning any Transocean entity having assumed         No Search Terms Needed.
BP's 2nd RFP to                     the debt or liabilities of any of the Transocean Deepwater Horizon
      TO                            Companies.
 Response to      4/29/2011   159   All communications between any Transocean Parent Company and Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to maintenance for drilling rigs, including but not
                                    limited to maintenance of BOPs, generators, and safety devices such
                                    as rig savers, overspeed controls, and ESDs.

 Response to      4/29/2011   160   All communications between any Transocean Parent Company and                 Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to inspections drilling rigs, including but not limited
                                    to inspections of BOPs, generators, and safety devices such as rig
                                    savers, overspeed controls, and ESDs.

 Response to      4/29/2011   161   All communications between any Transocean Parent Company and                 Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to safety on drilling rigs, including but not limited to
                                    Transocean’s Safety Management System.
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 Response to      4/29/2011   162   All communications between any Transocean Parent Company and            Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to well control.
 Response to      4/29/2011   163   All communications between any Transocean Parent Company and            Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to monitoring wells, including monitoring wells for
                                    kicks and other well control events.
 Response to      4/29/2011   164   All communications between any Transocean Parent Company and            Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to training individuals regarding well control and
                                    monitoring wells.
 Response to      4/29/2011   165   All communications between any Transocean Parent Company and            Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to alarms on drilling rigs.
 Response to      4/29/2011   166   All communications between any Transocean Parent Company and            Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to activating ESDs or EDSs on drilling rigs.

 Response to      4/29/2011   167   All communications between any Transocean Parent Company and Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating fighting fires on drilling rigs.
 Response to      4/29/2011   168   All communications between any Transocean Parent Company and Same as BP 2nd RFP 65.
BP's 2nd RFP to                     any Transocean Deepwater Horizon Company relating to policies,
      TO                            practices, procedures, standards, requirements, protocols and/or
                                    planning relating to the responsibilities, duties, and powers of the
                                    OIM and Captain or Master on drilling rigs.
 Response to      4/29/2011   169   All documents concerning Transocean’s receipt of any insurance         No search terms needed.
BP's 2nd RFP to                     proceeds relating to the Deepwater Horizon Incident or the loss of
      TO                            the Deepwater Horizon, including but not limited to which Transocean
                                    entity received the insurance funds.
 Response to      4/29/2011   170   All documents relating to the value of the Deepwater Horizon after its No search terms needed.
BP's 2nd RFP to                     sinking.
      TO
 Response to      4/29/2011   171   All documents relating to any valuation of the Deepwater Horizon        Same as BP 2nd RFP 170.
BP's 2nd RFP to                     after its sinking.
      TO
 Response to      4/29/2011   172   All documents relating to the design of the MC252 Well.                 Same as BP 2nd RFP 3.
BP's 2nd RFP to
      TO
 Response to      4/29/2011   173   All documents Transocean sent to BP or any other entity or person       Same as BP 2nd RFP 3.
BP's 2nd RFP to                     relating to the design of the MC252 Well.
      TO
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 Response to      4/29/2011   174   All documents relating to Transocean’s policies, practices,               (“negative pressure test” OR (temporar* w/2 abandon*) OR (conver* w/3 “float”)) w/10
BP's 2nd RFP to                     procedures, standards, requirements, protocols, and/or planning for       (train* OR procedure* OR guid* OR practice* OR polic*) AND Between 01-Jan-2005
      TO                            conducting negative pressure tests in the Gulf of Mexico.                 to April 21, 2010 [same as BP 1st RFP 141]
 Response to      4/29/2011   175   All documents relating to the use of a long string design for the final   (macondo or mc252 or “mc 252”) AND (((casing OR completion OR liner) w/5 (design
BP's 2nd RFP to                     section of                                                                or string)) OR "long string" OR ((production OR completion OR liner) w/3 casing))
      TO                            the casing – i.e., the production casing – for the MC252 Well,            AND Between 10-Apr-2010 and 21-Apr-2010
                                    including but not limited to
                                    comparisons of the long string design to any alternatives.                (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                              ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
                                                                                                              w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                              pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                              (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                              4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                              252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                              (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                              (fifteen or 15) and 4/18/2010
 Response to      4/29/2011   176   All documents relating to the use of a long string design for the final   (macondo or mc252 or “mc 252”) AND (((casing OR completion OR liner) w/5 (design
BP's 2nd RFP to                     section of the casing – i.e., the production casing – for the MC252       or string)) OR "long string" OR ((production OR completion OR liner) w/3 casing))
      TO                            Well, including but not limited to comparisons of the long string         AND Between 10-Apr-2010 and 21-Apr-2010
                                    design to any alternatives.
                                                                                                              (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                              ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
                                                                                                              w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                              pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                              (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                              4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                              252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                              (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                              (fifteen or 15) and 4/18/2010
 Response to      4/29/2011   177   Documents sufficient to show the number and percentage of wells           (GOM or "Gulf of Mexico") and "long string" and greater than or equal to 1 Jan 2005
BP's 2nd RFP to                     and/or sections of wells that Transocean has drilled in the Gulf of
      TO                            Mexico since January 1, 2005, that use a long string design.

 Response to      4/29/2011   178   All documents relating to the spacer used during the displacement         (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     procedure in preparation for the negative pressure tests on the           ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                            MC252 Well on April 20, 2010.                                             w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                              pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                              (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                              4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                              252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010 ;
                                                                                                              (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                              (fifteen or 15) and 4/18/2010

                                                                                                              spacer AND ("form-a-set" OR "form-a-squeeze")
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 Response to      4/29/2011   179   All documents relating to converting or attempting to convert the float (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     collar for the MC252 Well’s shoe track.                                 ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                    w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                            pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                            (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                            4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                            252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                            (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                            (fifteen or 15) and 4/18/2010

                                                                                                             “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                             problem or disaster).

                                                                                                             (macondo or mc252 or “mc 252”) AND ((foam w/ (stability OR test*)) OR (cement w/3
                                                                                                             test*) OR centralizer* OR (float w/3 (valve* OR collar*)) OR kick* OR "well control")

 Response to      4/29/2011   180   All documents or communications relating to or referring to              (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     performing a “bottoms up” circulation at the MC252 Well.                 ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                     w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                             pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                             (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                             4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                             252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                             (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                             (fifteen or 15) and 4/18/2010

                                                                                                             “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                             problem or disaster).
 Response to      4/29/2011   181   All documents relating to circulating drilling fluids before cementing   (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     the final section of the casing for the MC252 Well.                      ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                     w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                             pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                             (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                             4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                             252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                             (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                             (fifteen or 15) and 4/18/2010

                                                                                                             (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                             Mud w/50 ((sea w/2 water) or seawater) and pressure and date between 4/15/2010
                                                                                                             and 4/21/2010.
 Response to      4/29/2011   182   Documents sufficient to show the number and percentage of wells          (("Gulf of mexico" or GOM) and "Bottoms up" or "Bottoms-up") and greater than or
BP's 2nd RFP to                     and/or sections of wells that Transocean has drilled in the Gulf of      equal to January 1, 2005
      TO                            Mexico since January 1, 2005, where a “bottoms up” circulation was
                                    performed before cementing sections of casing.
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 Response to      4/29/2011   183   All documents relating to or referring to the lock down sleeve and     (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     lock down sleeve procedure for use at the MC252 Well.                  ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                   w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                           pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                           (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                           4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                           252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                           (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                           (fifteen or 15) and 4/18/2010

                                                                                                           “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                                                                                           problem or disaster).
 Response to      4/29/2011   184   All documents relating to when a lock down sleeve should be            "lock down sleeve" and install*
BP's 2nd RFP to                     installed for a well.
      TO
 Response to      4/29/2011   185   Documents sufficient to show the number and percentage of wells        Same as BP 2nd RFP 184.
BP's 2nd RFP to                     and/or sections of wells that Transocean has drilled in the Gulf of
      TO                            Mexico since January 1, 2005, where a lock down sleeve was
                                    installed before installing a cement plug and/or displacing drilling
                                    fluids from the well.
 Response to      4/29/2011   186   All documents relating to or referring to temporary abandonment        (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
BP's 2nd RFP to                     procedures at the MC252 Well.                                          ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
      TO                                                                                                   w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                           pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                           (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                           4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                           252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                                                                                           (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                           (fifteen or 15) and 4/18/2010

                                                                                                           temporary abandonment AND deepwater AND ("gulf of Mexico"OR GOM)
 Response to      4/29/2011   187   All documents relating to the drilling plan for the MC252 Well.        (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                                                                                            252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                                                                                                   (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                                                                                           “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                           or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                           management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                           Simrad) & da(after 9/30/2009).

                                                                                                           (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                           ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
                                                                                                           w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                           pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                           (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                           4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                           252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
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 Response to      4/29/2011   188   All documents relating to any applications for or permitting of the      (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
BP's 2nd RFP to                     MC252 Well.                                                              252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
      TO                                                                                                     (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                                                                                             “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                                                                                             or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                                                                                             management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                                                                                             Simrad) & da(after 9/30/2009).

                                                                                                             (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                                                                                             ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
                                                                                                             w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                                                                                             pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                                                                                             (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                                                                                             4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                                                                                             252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
 Response to      4/29/2011   189   All documents relating to the visit by Daun Winslow and Buddy            ((Horizon or DWH) or (Macondo or MC252 or MC 252) and (Winslow or Trahan or
BP's 2nd RFP to                     Trahan of Transocean as well as David Sims and Pat O’Bryan of BP Sims or O'Bryan)) and greater than or equal to April 20, 2010
      TO                            to the Deepwater Horizon on April 20, 2010.
 Response to      4/29/2011   190   All documents relating to the Drilling Contract and its amendments,      (980249 and 1998)
BP's 2nd RFP to                     including but not limited to any drafts of the Drilling Contract and its
      TO                            amendments and any documents sent to or from any BP entity
                                    regarding the Drilling Contract and its amendments.

 Response to      4/29/2011   191   All documents relating to drafting and negotiation of the Drilling       Same as BP 2nd RFP 190.
BP's 2nd RFP to                     Contract and its amendments, including but not limited to documents
      TO                            showing the individuals who drafted and/or negotiated the Drilling
                                    Contract and each of its amendments.
 Response to      4/29/2011   192   All documents relating to the MC252 Well other than those received       Same as BP 2nd RFP 3.
BP's 2nd RFP to                     in formal document productions from the BP Parties or other parties
      TO                            to this litigation.
 Response to      4/29/2011   193   All documents relating to the Deepwater Horizon or any of the other      Same as BP 2nd RFP 3.
BP's 2nd RFP to                     vessels, equipment, product, service, or device used in connection
      TO                            with the drilling of the MC252 Well other than those received in
                                    formal document productions from the BP Parties or other parties to
                                    this litigation.
 Response to      4/29/2011   194   All documents relating to the Incident other than those received in      “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     formal document productions from the BP Parties or other parties to      problem or disaster).
      TO                            this litigation.
                                                                                                             (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                             "top kill")
 Response to      4/29/2011   195   All documents relating to the Oil Spill other than those received in     “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     formaldocument productions from the BP Parties or other parties to       problem or disaster).
      TO                            this litigation.
                                                                                                             (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                             "top kill")
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 Response to      4/29/2011   196   All documents relating to any vessel, equipment, product, service, or “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     device used in connection with the response to the Incident other          problem or disaster).
      TO                            than those received in formal document productions from the BP
                                    Parties or other parties to this litigation.                               (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                               "top kill")
 Response to      4/29/2011   197   All documents relating to the Oil Spill Response other than those          “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     received in formal document productions from the BP Parties or             problem or disaster).
      TO                            other parties to this litigation.
                                                                                                               (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                               "top kill")
 Response to      4/29/2011   198   All documents relating to the Oil Spill Response other than those          “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     received in formal document productions from the BP Parties or             problem or disaster).
      TO                            other parties to this litigation.
                                                                                                               (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                               "top kill")
 Response to      4/29/2011   199   All documents you have provided to any other person or entity in           No Search Terms Needed.
BP's 2nd RFP to                     connection with this litigation or any other claim, suit, or other
      TO                            proceeding involving BP or any other party to this litigation.
 Response to      4/29/2011   200   All documents you have provided to any government, government              No Search Terms Needed.
BP's 2nd RFP to                     officer or official, commission, agency, board, or other governmental
      TO                            or regulatory entity, authority, or person relating to the Incident, the
                                    Oil Spill, or the Oil Spill Response.
 Response to      4/29/2011   201   All documents you have provided to any person or entity affiliated         No Search Terms Needed.
BP's 2nd RFP to                     with any media publication, including, but not limited to, any reporter,
      TO                            investigator, journalist, author, or publisher, relating to the Deepwater
                                    Horizon Incident or Oil Spill.
 Response to      4/29/2011   202   All documents relating to any economic injury, damage, or other loss No Search Terms Needed.
BP's 2nd RFP to                     you claim to have incurred as a result of the Incident, the Oil Spill, or
      TO                            the Oil Spill Response.
 Response to      4/29/2011   203   All documents relating to any insurance policy or other agreement or No Search Terms Needed.
BP's 2nd RFP to                     document that may be construed to provide you with any
      TO                            compensation as a result of the Incident, the Oil Spill, or the Oil Spill
                                    Response, including but not limited any claims made or payments
                                    received by you thereunder.
 Response to      4/29/2011   204   All documents relating to any work, services, or activities you            “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     performed in connection with the Incident, the Oil Spill, or the Oil Spill problem or disaster).
      TO                            Response.
                                                                                                               (macondo or "mc 252" or mc252 or horizon or dwh or cap* or control or "shut in" or
                                                                                                               "top kill")
 Response to      4/29/2011   205   All documents sent to or received from any crew member of the              (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
BP's 2nd RFP to                     Deepwater Horizon or Damon B. Bankston on or after April 20, 2010,
      TO                            including but not limited to all communications relating to the            “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
                                    settlement or compromise, or potential settlement or                       problem or disaster).
                                    compromise, of any claims that have been or might be brought by
                                    such crew members.
 Response to      4/29/2011   206   All documents sent to or received from any person or entity relating “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
BP's 2nd RFP to                     to the settlement or compromise, or potential settlement or                problem or disaster).
      TO                            compromise, of any claims arising from or relating to the Deepwater
                                    Horizon Incident or the Oil Spill.
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 Response to      4/29/2011   207   All documents mentioned or referenced in any pleading, motion, or         No Search Terms Needed.
BP's 2nd RFP to                     brief filed by Transocean in this action.
      TO
 Response to      4/29/2011   208   All documents you intend to rely upon at any hearing, trial, or other    No Search Terms Needed.
BP's 2nd RFP to                     proceeding in connection with this litigation or any other litigation or
      TO                            dispute-resolution process of any kind involving issues relating to the
                                    Incident, the Oil Spill, or the Oil Spill Response.

 Response to      4/29/2011   209   All documents you intend to introduce into evidence at any hearing, No Search Terms Needed.
BP's 2nd RFP to                     trial, or other proceeding in connection with this litigation or any other
      TO                            litigation or dispute-resolution process of any kind involving issues
                                    relating to the Incident, the Oil Spill, or the Oil Spill Response.

 Response to      4/29/2011   210   All documents that have been considered or relied upon by any             No Search Terms Needed.
BP's 2nd RFP to                     expert witness that may testify on your behalf at any trial or hearing
      TO                            in this action.
 Response to      4/29/2011   211   All documents that relate to any expert testimony or opinions to be       No Search Terms Needed.
BP's 2nd RFP to                     offered in support of your claims.
      TO
 Response to      4/29/2011   212   All documents that you contend support the proposition that               No Search Terms Needed.
BP's 2nd RFP to                     Transocean did not breach the Drilling Contract.
      TO
 Response to      4/29/2011   213   All documents that you contend support the proposition that               No Search Terms Needed.
BP's 2nd RFP to                     Transocean was not negligent in acts relating to the Deepwater
      TO                            Horizon Incident and Oil Spill.
 Response to      4/29/2011   214   All documents that you contend support the proposition that the           No Search Terms Needed.
BP's 2nd RFP to                     Deepwater Horizon was seaworthy on April 20, 2010.
      TO
 Response to      4/29/2011   215   All documents that you contend support the proposition that        No Search Terms Needed.
BP's 2nd RFP to                     Transocean lacked knowledge of or privity with any negligent acts
      TO                            relating to the Deepwater Horizon Incident and Oil Spill or
                                    unseaworthy conditions of the Deepwater Horizon on April 20, 2010.

 Response to      4/29/2011   216   All documents you contend support the proposition that any BP entity No Search Terms Needed.
BP's 2nd RFP to                     breached the Drilling Contract.
      TO
 Response to      4/29/2011   217   All documents relating to any claim you have asserted against any         No Search Terms Needed.
BP's 2nd RFP to                     person or entity as a result of the Incident, the Oil Spill, or the Oil
      TO                            Spill Response.
